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 EXHIBIT A
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          STATE          OF NEW             YORK
          SUPREME                 COURT               :     COUNTY                   OF ERIE


          EASTPOINT                RECOVERY                      GROUP,                   INC.,
          1807       Elmwood            Avenue,             Suite          300

          Buffalo,          New      York       14207

                                                                                                                                                         SUMMONS
                                                                                         Plaintiff,

                       v.                                                                                                                                Index       No.:




          LEMBERG                 LAW          LLC,
          43     Danbury          Road

          Wilton,       Connecticut              06897



                                                                                         Defendant.



          TO THE            ABOVE-NAMED                              DEFENDANT:




                        YOU        ARE         HEREBY                 SUMMONED                          to appear            herein        and     to answer               the   attached            Verified



          Complaint            in this      action         within           twenty          (20)       days        after     service       of this        Summons                if served



          personally           upon      you,     or within                thirty        (30)      days       if   served        via   the     New        York            Secretary        of    State,


          exclusive          of the      day     of       service.           You         can     make         such         appearance            by     serving           a complete            copy         of



          your       Answer,          in the     form        required               by    law,        on the        attorneys          named           below,        directed         to the



          attention         of the      individual            attorney              or department                   whose        name        appears            below.           In case        of    your



          failure      to answer,           Judgment                will      be taken             against         you      by   default         for     the     relief      dernanded               in the



          Verified          Complaint.




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                       The     basis     of    venue     in   Erie   County        pursuant        to section          503(a)   of the   New   York   Civil   Practice


          Law    and     Rules         based     upon     the   residence         of the    Plaintiff.




          DATED:             October          18, 2018


                                                                         HODGSON                 RUSS         LLP
                                                                        Attorneys          for     Plaint




                                                                         By:
                                                                                       Steven         W.    Wells
                                                                            140   Pearl     Street,        Suite    100

                                                                         Buffalo,          New     York        14202

                                                                         (716)      848-1233
                                                                         swells@hodgsonruss.com




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         STATE          OF     NEW YORK
         SUPREME               COURT                   :   COUNTY                OF ERIE


         EASTPOINT                   RECOVERY                    GROUP,               INC.,



                                                                                   Plaintiff,

                      v.                                                                                                                             Index       No.:




         LEMBERG                   LAW          LLC,



                                                                                   Defendant.




                                                                                        COMPLAINT

                                       Eastpoint           Recovery             Group,          Inc.      ("Eastpoint"),               by    and       through           its    attorneys,


         Hodgson            Russ       LLP,       hereby         alleges        for     its    complaint              against         Lemberg            Law        LLC         ("Lemberg"):




                                                                       PARTIES                 AND          JURISDICTION




                                       1.              Eastpoint         is a New              York        corporation             with      its     principal          place        of business           at



         1807       Elmwood             Avenue,            Suite      300,      Buffalo,            County          of     Erie,      New      York          14207.



                                       2.              Upon        information                and      belief,      Lemberg            is a Connecticut                    limited       liability



         company            with      its principal            place       of    business             at 43       Danbury          Road,           Wilton,          CT 06897,           and


         additional          offices        in California,              Massachusetts,                     Indiana,         and       Washington.


                                       3.              Upon        information                and      belief,      Lemberg            is a law         firm        specializing             in



         representing              plaintiffs          in consünier             debt,         lemon        law,     fair     labor,       personal            injury,          and   class        action



         cases.



                                       4.              Upon        information                and      belief,      Lemberg            attorneys             hold       themselves            out     to be



         licensed          to practice           in the       state    and      federal         courts           of New         York        and      able      to represent            clients        in



         New      York.




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                                         5.              Lemberg              transacts            substantial                business            in New         York        by     representing


         clients          in hundreds             of cases             in New          York        state        and      federal          courts.         A    listing        of the        state       and


         federal          cases     in which              Sergei        Lemberg,                Esq.,       the       priñcipal           of    Lemberg,            is counsel              to one            of the


         parties          is attached          as Exhibit               A.


                                         6.              Upon          information                and       belief,       Lemberg                 purposefully               solicits         clients          and


         other       business           relationships                  in New          York.


                                         7.              Upon          information                and       belief,       Lemberg                 owns,       maintains,             publishes,                or is


         otherwise            responsible                for     the    website           known             as lemberglaw.com                          (the      "Lemberg               Website").


                                         8.              Lemberg              uses       the     Lemberg               Website             to transact           business            in New             York,          by,



         among            other     things,         soliciting           potential              clients         in New            York.


                                         9.              Lemberg              directly           solicits         potential             clients       in New         York           using       the      same



         pages       of the        Lemberg               Website          that         contain          false      and        misleading              statements              about         Eastpoint             as



         described            more        fully         below.


                                         10.             This      Court          has jurisdiction                    over        Eastpoint            pursuant            to CPLR             § 301.           This



         Court        has jurisdiction                   over      Lemberg               pursuant            to CPLR               § 302(1).


                                         11.             Venue          is proper              in Erie        County            pursuant            to CPLR              503(a)         and     (c)     because


         Eastpoint            is a domestic                corporation                 with       its principal               office        located        in Erie          County,            and       is


         therefore           a resident            of    Erie      County.




                                                                               FACTUALBACKGROUND


                                         12.             Eastpoint            is a professional                       receivables               and    collections               management                    firm.



         Eastpoint            collects         consumer                debt       on    a consigned                   basis       for     its   debt-buyer               clients.        As      of


                                                                         "A+"
         September                12,    2018,          it had     an                   rating       from         the     Better           Business           Bureau           ("BBB")              and        has



         had       only     seven        (7)      complaints              filed        against          it in the         seven          years        Eastpoint            has      been       in business




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         A     copy      of the        website          page        for     Eastpoint                from            the      BBB's                  website            from       Octiber            12,     2018         is


         attached          as Exhibit             B.


                                        13.             In the        ordinary             course               of     its    business,                  Eastpoint                contacts          hundreds               of



         thousands             of     consumers             each          year     through                 legal        means.


                                        14.             Lemberg              is a law               firm        that         holds             itself     out      as having                 expertise            in,    among

                                                                            Credit,"
         other        practice         areas,      "Debt           and                          which,               according                     to the        Lemberg                Website             includes            the


                                                                                    Harassment"                                                                     Harassment."
         sub-categories                 of     "Debt        Collection                                                   and         "Cell              Phone


                                        15.             The        Lemberg              Website                 contalas                 an entire               separate              page      devoted            solely        to


         Eastpoint          (the       "Lemberg               Eastpoint             Site").                A    true         and         correct              printed          copy          of the      Lemberg


         Eastpoint          Site       is attached             as Exhibit                 C.        Upon             information                        and     belief,          the     Eastpoint             Lemberg


         Site     was      revised           following             the     email          exchange                   that      is attached                     hereto          as Exhibit             E.      When


         printed,        the        contents       of the          Lemberg                Eastpoint                  Site      are         eight          pages          long.


                                                                                                                                                                  Group"
                                        16.             A   Google               search         for        "Eastpoint                    Recovery                                      returns        the      Lemberg


         Eastpoint          Site       as the      top      hit,      even        above             Eastpoint's                    own            website.              A      copy       of     a Google               search         for


                                                       Group"
         "Eastpoint              Recovery                                is attached                as Exhibit                     D.



                                        17.             Eastpoint's                counsel             has           demanded                     that        Lemberg              take        down         the     Lemberg


         Eastpoint          Site       on two          occasions.                 Most          recently               Eastpoint's                       counsel,           Steven             W.     Wells,            Esq.,    sent


         an email          to Jody           Burton,          Esq.,        the     Managing                     Attorney                  of      Lemberg,                demanding                 that      the       Lemberg

                                                                                                                 Wells'
         Eastpoint          Site       be taken          down.             A     copy          of     Mr.                            email              and      Sergei           Lemberg's                 response            dated



         October           11,      2018,       acknowledging                      that        false           statements                  were           on the          site,        and     refusing            to remove



         the     site,    is attached            as Exhibit                E.



                                        18.             The        Lemberg              Website                 has          and        will         continue            to harm              Eastpoint            as it is



         generating              an    unusüâlly            high         number            of       claims             asserted                 by      Lemberg             on      accoüüt            of    consumers




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                                                                                   "google"
         (likely         because           a consumer                    will                            Eastpoint               and       the    Lemberg               Eastpoint                Site     comes          up


         first     and      essentially               conveys              the        roessage          that,      if    a consumer                   has     been        contacted              by      Eastpoint,              he


         or she       should            contact         Lemberg,                  not      Eastpoint).



                                          19.               Eastpoint                 is not      the     only          business           Lemberg             has        defamed.                A      copy      of



         Lemberg                Law's          Yelp     reviews,                 the     latest      from         an attorney                who        "has         been         falsely         maligned               by

                                                                                                                  business,"
         [Lemberg]                in his        pathetic           attempts              to get         new                                 and       who      is "livid            and      will        file     suit     if


                                                                                                         conduct"
         necessary              to put         a stop        to this            defamatory                                       is attached             as Exhibit                 F.


                                         20.                Lemberg               has      asserted             demands              and/or           commcñced                    lawsuits             against



         Eastpoint              for     sixteen         (17)       different              consumers                since          January             2018.          No       other       firm        has       asserted


         more        than        one     claim         on        behalf          of    a consumer                 against           Eastpoint               during         that       period.



                                          21.               The         total     number            of claims                asserted            in the       last      six     months             against



         Eastpoint              by     firms      other           than          Lemberg            is five        or less,          with         no    one      firm          having         asserted            more           than



         one       claim         or filed        more            than      one         lawsuit.


                                          22.               At     no time             during           Eastpoint's                existence            has       one      firm          asserted           nearly        the



         number            of    claims          on behalf                of     consumers               alleging              violations             of the         FDCPA               and/or          filed       actions



         anywhere               close       to the          number              that     Lemberg                has      filed      just     in 2018.



                                          23.               The         headline           at the        top      of the          Lemberg              Eastpoint               Site       reads:         "Eastpoint



         Recovery               Group           ERG         Collections                  Complaints.                    Stop       the     calls".          The       sub-headline                    following               this



         is: "Many               consumers              bring            up      complaints               about          harassing               collections              calls".           This        is followed                  by

                                         2018."
         "February               15,


                                          24.               The         headline           and      sub-headline                    of the         Lemberg                Eastpoint              Site,      followed             by


         a date,         are     designed             to,    and         in fact         do,      create         in the          reasonable             reader          or "least            sophisticated




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         consumer"1
                                the        false     inference,               implication,                   or innuendo                 that        the     content           of the      Eastpoint            page     on


         the      Lemberg           Website              is factual           and         akin      to a news              article,        when             in   fact      it is not.


                                                                     "sub-headline"
                                       25.               The                                            that     many         consumers                     bring       up     complaints             about



         harassing          collection              calls         is false        and       misleading                   as Eastpoint                makes           thousands             of     collection         calls


         each      day      and,     prior         to Lemberg's                    unlawful              solicitation,                would           receive           no more           than       one       or two



         claims       on     average           during             any     given           month              Considering                 that        Eastpoint's                collectors          make        more


         than      50,000          calls      per    month,             the       fact     that        one     or two         claims            are        asserted          against         Eastpoint           each


                                                                                                    "many"
         month        by     consumers               cannot             be labelled                                  by     any       reasonable                 interpretation                 of the      actual


         facts.


                                                                              "sub-headline"
                                       26.               Another                                                 also       contains             a general              assertion          that


         "[c]omplaints                filed        against           Eastpoint              Recovery              Group           cite     allegations                  of rude         and       abusive


                                                                                          staff."
         telephone           conduct           by        its   collections                                Ex.        C

                                                                     "sub-headline"
                                       27.                This                                           on the           Lemberg               Eastpoint               Site     also    contains



         numerous            statements              regarding                allegations                ostensibly             made            in    complaints                 by     consumers              against



         Eastpoint           including,             but        not      limited           to,    the    following:



                                                         A.               That           Eastpeint             threatened             a consumer                    that       it was     going        to gamish


                                       the     consumer's                  wages.


                                                          B.              That           Eastpoint             was       harassing              a consumer                 and        threatening           to put


                                       liens        on      his      house.




                                       consumer"
          IThe "least sophisticated                 standard is the standard against which a debt collection       agency's   collection
                     "judged"
         activity is            under  the  Fair Debt  Collection   Practices Act.  Consumer    attorneys   take advantage    of this
         standavd in asserting claims against debt collection       compeles    so they should, therefore,    be held to the same
                                                                                                           consumer"
         standard when añalyzing      their own conduct.      The standard for the "least sophisticated                 is one that is
         presumed          to possess a rudimentary                       amount          of information                 about the world              and a willingacss                 to read a collection
         notice     with     some care.



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                                                           C.             That          Eastpoint         had         been      finding          the     names          and    phone             numbers            of



                                          family        members                 of the       consumer             and        contacting           them          as well.


         Id.


                                         28.               Lemberg's                  assertions         regarding              allegations              contained            in complaints



         against            Eastpoint            purport         to quote             from      actual         complaints              without           identifying              the      name         of the



         case,        the     identity          of the      person            making          the     allegations,              any       relevant          surrounding                 facts,      whether



         such       any       allegations            were          ever        proven,        and      the      disposition             of the          case.        The      quoted         portions             of



         the      cases       are     merely         allegations,                 not     conduct         that        Eastpoint           has     been          found       to have          engaged              in.



                                          29.              The        false     and       misleading             text        beneath        the        fourth      sub-heading                   (see     Exhibit



         C at pp.            3-4)     is designed               to,     and       in fact     does,       create            in the     reasonable               reader        and       certainly           the


                                                    consumer,"
         "least        sophisticated                                            through         the      use     of     implication,              suggestion,               and      innuendo,              the



         false      inference             that     allegations                made        against         Eastpoint             have       been         proven          or verified              when,       in



         fact,     they        have       not      been;         that     Eastpoint            eñgaged           in the         alleged          conduct          when         in fact           it did     not;


         that     Eastpoint              has     been       subjected                 to more        complaints               or lawsuits              than      it has       been;        and      that



         plaintiffs            or complainants                     have        succeeded              in their         claims         against          Eastpoint,             when         in fact         they


         have       not.


                                          30.              While          a person           with      a law          degree         or a licensed               attorney          clearly          would


         know          the     difference            between              allegations               contained           in     a complaint               and      conduct           that     a defendant                 is



         actually            found        to have          cñgaged              in,     a person         without            such      traiñiñg           is likely         to read         the     statements



         made         on      the    Lemberg               Eastpoint              Site    and       believe          that     Eastpoint           actually             engaged           in the         conduct


                                                                                                                   consumer"
         alleged,            especially            using         the     "least         sophisticated                                      standard             that     is employed                by      the     Fair



         Debt         Collection            Practices              Act        (the      "FDCPA").




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                                         31.           Lemberg                  published                these           false       allegations                with       reckless             disregard                  for   the



         truth,      without           making          any     reasoñable                   effort             to verify             the     allegations,                or to state             that     Eastpoint



         denied        the        allegations,          and    that          the      allegations                  were             never        proven.


                                         32.           The     first         sub-heading                       on the           Lemberg                 Website's              Eastpoint               page          is:     "What



         is Eastpoint                                                  -    ERG?".                 Beneath                   that                         is the                               text:
                                     Recovery          Group                                                                          heading                           following


                                         Eastpoint           Recovery                  Group               Inc.        or      ERG          is    a third-party                    collection

                                         agency         located                 in     Buffalo,                   NY.            ERG             has       received                consumer

                                         complaints            alleging               violations                  of     the        Fair     Debt         Collection                Practices

                                         Act       (FDCPA),                  including                    improper                   sharing             of      information                    and

                                         threatening           to take               actions             that      cannot             legally           be taken.             If    you        have

                                         been      contacted               by        ERG,         understand                     your       rights         before          responding.




                                         33.           The     above-quoted                             text      quoted             in paragraph                  32    above            cññtains             false



         statements.


                                         34.           The     above-quoted                             text      in paragraph                    32     further         contains              misleading


         statements,               which         are   designed              to and          in     fact          do     create            in the       reasonable                 reader        and      certainly                 in


                                                         consumer,"
         the      "least      sophisticated                                            through                 implication,                  suggestion                 and        iññüeñdo,             the     false



         inference            that     any       coñiplalñts               against          Eastpoint                  were          truthful            or have          been        substantiated,                        when,


         in fact,          they      were      never      substañtiated.


                                         35.           The     second                 sub-heading                      on the           Lemberg                Eastpoint             Site       reads:         "Is


                                                                     Scam?"
         Eastpoint            Recovery             Group        a


                                         36.           The     second                 sub-heading                      is designed                to,     and      in    fact       does,        create          in the


                                                                                                                                           consumer,"
         reasonable               reader        and    certainly             the       "least            sophisticated                                                 through            implication,



         suggestion,               and      innuendo,          the         false       inference                  that        Lemberg                 is in possession                    of    additional,


                                                                                                                                                                                                          "scam,"
         unstated            factual        information              to support                   its     false         statement                of     fact    that      Eastpoint              is a




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         when       in fact           Lemberg             knows              that     Eastpoint              is not         a scam             and       Lemberg            possesses                  no     information


         that    would            support         that      statement.


                                         37.              The         third         sub-heading               on      the        Lemberg             Eastpoint              Site        is:      "How          many


         Cerñplaints                are there         against            Eastpoint                                                        -     ERG?".
                                                                                               Recovery                   Group

                                                                                                                                                                                                               Wells'
                                         38.              Prior        to the         revisions             made          by      Mr.         Lemberg             in response                    to Mr.


         October            11,     2018         email,         the     third         sub-heading                on the           Lemberg                  Eastpoint             Site         stated        as follows:



                                         As      of December                    2017,        the     Better          Business                 Bureau          (BBB)           has       closed

                                         17 complaints                       against         Eastpoint               Recovery                  Group         in the        preceding                3

                                         years,       with        2 complaints                     closed          in the         past         12 months.              Almost              all    of

                                         the      complaints                   allege        problems                with        billing          and        collections.                As       of
                                         June       2015,          the         Consumer              Financial                 Protection                Bureau            (CFPB)                has
                                         received            12        complaints               about          ERG.              Justia          lists      at    least       4 cases             of

                                         civil      litigation               involving             ERG.




                                         39.              The         above-quoted                   text      in paragraph                     37       contained            false        statements.


                                                                                                                                                                 complaints"
                                         40.              For     example,                 when       the      text         referenced               "17                                       to the        BBB,        it



         provided             a link         to the       BBB          page,         which          revealed              that     there         have        only         been      seven              complaints



         filed     against            Eastpoint           with         the      BBB          over      the      course            of the          last      seven         years,        not       seventeen.                  See



         Exhibit         B.


                                         41.              Eastpeint                 does     not     have          sufficient                 knowledge               at this        point         to allege            how



         long      the      inaccurate             statement                  regarding            complaints                  filed          against        Eastpoint              with         the     BBB          was



         contained             on      the     Lemberg             Eastpoint               Site.


                                         42.              The         fourth         sub-heading                on        the     Lemberg                  Eastpoint             Site         is "Can          you      help


         me file         a No         Fee      Lawsuit            against            Eastpoint                                                       Inc     -    ERG?".
                                                                                                            Recovery               Group


                                         43.              The         text      beneath         the         fourth          sub-heading                    purports          to describe                    "sample


                                                  Eastpoint."                                                                                        cases"
         cases      filed         against                                      These        descriptions                   of "sample                                 begin         with          the       false



         statement             that     "Complaints                    against           Eastpoint             Recovery                  Group            cite    allegations                  of rude          and




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                                                                                                       staff,"
         abusive        telephone            conduct             by     its     collections                            without            identifying                 the       complaints



         purportedly             containing              these         allegations.


                                     44.               The       Lemberg               Eastpoint             Site's      fifth      sub-heading                     is:     "Can            Eastpoint


                                                                                                Wages?"
         Recovery            Group          Sue       Me or Garnish                    My

                                     45.               This       sub-heading                   is followed             by      a paragraph                   containing                the         statements,            "It


                                                                                                                                                           wages,"
         is illegal       for     a debt         collector            to threateñ              to sue        you      or garnish                your                            and         "However,               debt



         collection          agencies            are     known           to have              summoned                debtors           to court           and        garnish            wages          after       a


                       judgment."
         default                                 The      paragraph                 further        states,       "We've            helped             thousands                 of     consumers                fight


                                                                                                   harassers."
         back      against         unscrupulous                  debt         collection



                                     46.               The       statements                contained             in the       paragraph                 following                the        fifth     sub-heading,


         described           in paragraph                45     of this         Complaint,              are        designed             to,     and      in    fact       do,        create         in the


                                                                                                                                 consünier,"
         reasonable             reader,         and      certainly            the     "least       sophisticated                                              the      false         inference            through



         implication,             suggestion              and         innuendo             that,    among             other       things,          Eastpoint                has        illegally         threateñed



         to sue       debtors        or garnish               their     wages,           that      Eastpoint            has       actually             taken          improper                legal      action


                                                                                                                                                                    harasser,"
         against        debtors,          and     that       Eastpoint              is an "unscrupulous                          debt         collection                                        when       in fact



         none      of these         are     true.


                                     47.               The       Lemberg               Eastpoint             Site's       sixth         sub-heading                   is:   "Eastpoint                  Recovery

                                                    You?"
         Group        ERG         Calling


                                     48.               Under           this     sub-heading                  is text      saying,              "Consumers                   have          reported           this


                                                                                                    numbers,"
         agency         harassing           them         from         the      following                                     followed              by      several          phone              ñümbers            known



         to be associated                 with        Eastpoint.               Lemberg's              false         statement             does          not     identify              the      purported



         consumers              or the      substance                 of the        alleged        harassment.




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                                        49.              The      Lemberg                 Eastpoint              Site's        seventh        sub-heading              is:    "Want             to    Stop        Debt


                                                          Now?"
         Collection              Harassment


                                                                                                                                                                                                     checklist,"
                                        50.              Under        this        sub-headiñg,                   Lemberg              published          a "debt         harassment



         which           lists   such      actions          as improper                   timing           or volume              of phone          calls,     threats        of violence                   or



         arrest,         attempts        to collect            more       than           the     debt         owed,        and      obscene         language.


                                                                                                           checklist"
                                        51.              The      "debt           collection                                      is designed         to,    and      in fact        does,           create       in


                                                                                                                                            consumer"
         the   reasonable               reader,          and      certainly              the     "least        sophisticated                                    the      false       impression,


         through            innuendo          and        suggestion,                that       Eastpoint            has       engaged          in some         or all        of    the        behavior           listed



         in the      checklist,           such          as threats           of    violence                or arrest,         attempts         to collect          more           than        the    debt        owed,


         and       use     of    obscene          language,            when              in fact        it has      not.



                                        52.              The      Lemberg                 Eastpoint              Site      also     contains         an embedded                   YouTube               video


                                                                                                                                                                      Lawyer"
         entitled          "Eastpoint            Recovery                                Calling?             | Debt          Abuse         + Harassment                                      (the
                                                                      Group



         "Lemberg                YouTube               Video").           The        video            features          Sergei         Lemberg,          the    principal                of    Lemberg.


                                                                                                                                                                                                      "facts"
                                        53.              In the       Lemberg                  YouTube              Video,          after     Mr.     Lemberg             states          some



         about       Eastpoint,            the     following              text       appears               along        the    bottom         the    screen        as he          speaks:


                                                                                                                                                               Act"
                                                  a.     "Violating                the        Telephone             Consumer                Protection


                                                                                                                        violations."
                                                  b.     "$1,500          per        call       for    TCPA

                                                                                                        you"
                                                  c.     "Repeatedly                  calling

                                                                                                               lawsuits"
                                                  d.     "Threatening                    you        with


                                                                                                                                    collectors"
                                                  e.     "Failing         to tell             you      they      are      debt


                                                                                               work"
                                                  f.     "Calling            you         at


                                                                                                                              debt"
                                                  g.     "Talking            to others                about        your


                                                                                  you"
                                                  h.     "Lying        to




                                                                                                                   10




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                                        54.            Taken             together,              the     Lemberg              YouTube                 Video's               title        (which            appears                  on top


         of the      screen        throughout),                    the     text       appearing               along         the     bottom,            and         Mr.         Lemberg's                   spoken


         statements           are      designed              to,    and        in     fact      do,     create        the     false         inference               in the          reasonable                   viewer,              and


                                                                                    consumer,"
         certainly         the     "least        sophisticated                                                through             implication,                   suggestion,                   and        innuendo,                  that


                                                                    abuse"                      "harassment,"
         Eastpoint           engages            in "debt                              and                                         and       that      it has        engaged                in the          behavior



         listed      in paragraph               53(a)-(h)                of this          Complaint,               when           in fact          it has         not.


                                        55.            All         of the         false       statements              on the          Lemberg                    Eastpoint               Site     and        in the



         Lemberg            YouTube              Video,             described                above,         have         harmed             Eastpoint's                   reputation                 in    its        local        and


                                                                                                                                                                                                                      "scam,"
         broader          business            commüñity                  by,        among           other      things,            falsely          stating          that        Eastpoint                 is a



         that     it has     been        sued        more          times          than        it actually           has      been,          that      consumers                    have         made             allegations



         against       Eastpoint              that     cannot             be verified                 as actually            made           from           the     information                    on      the         website



         and      which       would            cause      a reasonable                       reader       to believe               that      those          allegations                  were          actually

                                                                                                                             "harassed"
         conduct          êñgaged             in by     Eastpoint,                   that      Eastpoint            has                                    consumers                    from         certain            phone


                                                                                                                                    "apologized"
         numbers           when         in fact        it has        not,         and        that     Eastpoint             has                                          for    or otherwise



         acknowledged                   any      of these            allegations.


                                        56.            The          Lemberg                  Eastpoint            Site      is attorney               advertising,                  created               and



         m            ined       for    the     purpose             of     attracting               clients        who       have         been         contacted                   by     Eastpoint                   and



         encouraging               them        to hire         Lemberg                  to file        lawsuits           against           Eastpoint.



                                        57.                                    has                                 and                                made           false         statements                    of     fact        about
                                                       Lemberg                            knowingly                         recklessly


         Eastpoint,           or has                                        used                                   statements                of     fact,         to create             the     false        impression
                                              intentionally                               misleading


         in potential            clients        that     Eastpoint                  has       engaged             in wrongdoing                     that         has      never           been         proven,                in



         order       to induce           the     potential               plaintiffs            to retain           Lemberg                and       file     a lawsuit                  against           Eastpoint                 for



         violating         the      FDCPA,             among               other          statutes          and     state         laws.




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                                        58.           As         a direct           result         of the       Lemberg                  Eastpoint             Site       and         the     Lemberg


         YouTube           Video,             Lemberg              has         asserted         an extremely                      high      volume             of     claims            and/or          commenced



         lawsuits,        or which              Eastpoint               has        had    to expend               money,             time         and     other          resources                  to defend,           which



         has     caused        direct         financial            harm.


                                        59.           Furthermore,                       based         upon          the     recent         experience                   of     Eastpoint's                 counsel          in



         dealing        with      these         cases           with      Jody          Burton,         Esq.,         the        Mañaging               Attorney                of    Lemberg,               the



         demands          made          by      Ms.       Burton             are    often          in excess           of the            maximum                amount                her     client        would        be



         entitled       to recover              under           the     FDCPA                at that     time         of the          demand             even          if a violation                  of the       FDCPA


         had     occurred.            Ms.       Burton             simply           deniands            a certain                amount           to resolve                  matters          pre-litigation                  and



         a higher         amount          for     matters               that     have        become             lawsuits,               without          any        regarding                 for     the    limitations



         on damages               contained             in       15 U.S.C.               1692k         or the         specific             allegations                of the          matter.



                                        60.           As         a direct           result         of the       Lemberg                  Eastpoint             Site       and         the     Lemberg


         YouTube           Video,             Eastpoint                has     been       named          in more                 lawsuits         commenced                      by         Lemberg            than      all



         other        consumer           firms        in the           United            States        combined                  in the      last    year,          which             has      damaged



         Eastpoint's            reputation,               caused             significant             financial              harm          in the        form        of        legal         fees     and     the



         payment          of    settlement              amounts                 to avoid           litigation              in which           Eastpoint                would            have         to pay        the


         attorneys'
                               fees     of both           its     counsel           and       counsel           for        the     consumer              if even              a minor              teelmical



         violation        of the         FDCPA                  (such        as a collector's                   failure           to identify            himself               or herself              as a debt


          collector       after       having          spoken              to the         consumer               on    numerous                occasions).                      See      15 U.S.C.



          1692k(a)(2)(B).



                                        61.           As          a direct          result         of the       Lemberg                  Eastpoint             Site       and         the     Lemberg


          YouTube          Video,             an unknown                     number           of    consumers                    have       developed                 the      false         impression               that


                                      "scam"
         Eastpoint         is a                       or eñgages                   in    illegal       or improper                   behavior,             and         have           as a result            declined             to




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         issue       payment            to Eastpoint              even             for     valid       outstanding                  debt     to which              Eastpoint            is legally           entitled



         to collect            upon,      thereby           damaging                     Eastpoint's            business              and        finances          and      the     compensation                   of    its



         collectors.


                                        62.              Eastpoint                continues              to suffer           this      reputational                and     fiñañcial             harm       each        day


         that     the     Lemberg              Eastpoint              Site        and      the     Lemberg             YouTube                   Video       are     so readily               available           on the



         internet.             In the     normal            course           of     its    business,          Eastpoint                legally           contacts          thousands              of cmtomers,



         many        of    whom          decide          to conduct                  an internet             search           about         Eastpoint.               The        Lemberg             Site     and



         Video,         displayed              so pr0rniñêñtly                     on      search         results,       damage              Eastpoint               in each         of these           instances.



                                        63.              Eastpoint                has      always          paid      every            settlement            that      it has        entered          into      with      a



         consumer.               In most           cases,       the      driving             force        to agree            to a settlement                   is to avoid             the      potentially


         large       exposure            of having             to pay             counsel          fees      of both               sides    in    litigation.            See       15 U.S.C.



         1692k(a)(2)(B).                       Eastpoint         has,         however,               never        experienced                    the     volume            of     claims         that      have       been



         asserted          against        it by         Lemberg              as a result               of the        Lemberg               Eastpoint            Site.           Eastpoint          is now          in



         danger           of having            to cease         its     operations                 because           it simply              cannot          afford       to defend               or settle        the



         volume           of    claims          that     Lemberg                  is asserting            against            it.



                                         64.             The     damage                   to Eastpoint's               reputation                 is irreparable,                 and      Eastpoint           has      no



         other       remedy            other      than       those           requested             through            this         Complaint.




                                                       FIRST           CAUSE                 OF      ACTION                    AGAINST                    LEMBERG
                                                                                                       (Defamation)


                                         65.             Eastpoint                repeats          the     allegations                in paragraphs                  1 through              64    as if fully           set



         forth       herein.



                                         66.             Lemberg's                   statemcñts              have       had          a teñdeñcy              to expose             Eastpoint            to public



         hatred,          contempt,             ridicule,        or disgrace.




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                                         77.            Lemberg           recklessly                published             false      and    misleading                  statemeñts              about


         Eastpoint          on     its    website          without           regard          to their        consequeñces,                  which          Eastpoint               should            have



         reasonably            anticipated              would         damage              Eastpoint.


                                         78.            The      statements               published           by      Lemberg              were      derogatory                  to Eastpoint,               in



         that    they,      among              other     things,        falsely        stated         that    Eastpoint              has    been        the       subject          of more



         complaints            than        it has       been,      falsely         attributed           certain           allegations             to Eastpoint                  that        it was      never



         actually         proven          to have         engaged            in,   and        created        the      false       impression               that     unproven                 claims


         against         Eastpoint             had     a valid        basis,       that      Eastpoint             has      engaged          in    improper              debt          collection


                                                                   "scam,"                                                    "harassed"
         behavior,          that      Eastpoint            is a                       that     Eastpoint              has                            debtors             over          the    telephone,


         and     many         other        false       impressions             about         Eastpoint.


                                         79.            Lemberg           published                 these     false       statements              and      used         false      suggestion               and



         innuendo           in a way             eniculated           to harm             Eastpoint          and         interfere         with      its    relations             with        others        all   for



         the     purpose         of      soliciting         clients       to hire          Lemberg            to make             claims          and/or          commence                   lawsuits



         against         Eastpoint.


                                         80.            Lemberg's              false       statements              and      false      suggestion                 and     innuendo              have        been



         detrimental             to Eastpoint,                in that      they        have         damaged           Eastpoint's             reputation                and       standing             in the



         community,                and      have        caused        financial            harm        to Eastpoint.




                                                   THIRD            CAUSE                 OF    ACTION                   AGAINST                  LEMBERG
                                                                                    (Permanent                  Injunction)


                                         81.            Eastpoint            repeats          the     allegations             in paragraphs                 1 through                  80    as if fully          set



         forth      herein.




                                                                                                             15




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                                             82.             Lemberg             continues                to publish             false,      misleading              defamatory,                 and     injurious


         material          on        its     website          and      on     YouTube               that      has     and        will      continue            to cause       reputational                and



         financial          harm             to Eastpoint.


                                             83.             Eastpoint's              business             is, and        will      continue           to be,       irreparably              harmed         by        the



         presence           of       Leniberg's               false,         misleading,              defamatory                  and      injurious           material        on     its    website            and     on



         YouTube.


                                             84.             Eastpoint            has       no     adequate           remedy              at law       to address           Lemberg's              continuing


         tortious         conduct               because             it remains             on     Lemberg's               website            and    on     YouTube,             and         is prominently



         displayed              by         internet       search            engiñcs         when           a search         is conducted                 for     "Eastpoint           Recovery

         Group."



                                             85.             Eastpoint            therefore               requests         a permanent                 injunction           and,      upon        appropriate



         notice       and        application                 a prelimiñsy                   injunction              and     temporary               restraining            order,       pending            the



         resolution              of this           action,         restraining              and     prohibiting              Lemberg,               and        anyone       acting          on   their      behalf,


          from       publishing                 false,       misleading,               defamatory               or injurious                 material           on the      Lemberg              Website,



          YouTube,               or on          any      other       platform              and/or         staying         the      pending          litigation            commenced                by     Lemberg


          on     behalf         of     consumers               against           Eastpoint.


                                                                                FOURTH                     CAUSE            OF          ACTION
                                                                                                  (Punitive          Damages)


                          86.                Eastpoint              repeats          and     re-alleges             the    allegations              contained             in paragraphs                  1 through



          85 as if fully                   set forth         herein.



                          87.                Upon        information                  and       belief,       Lemberg              continues             to maintain            the     Lemberg


          Eastpoint             Site         despite         the     fact     that     it clearly            contains            false       information             and      false     and       misleading


          language              that        would        cause         a reasonable                 consumer,              and          certainly        a "least         sophisticated


          consumer,"
                                     to believe              that      Eastopoint                engages         in a plethora                 of   unlawful            conduct.




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                     88.            Upon        information                 and     belief,          Lemberg               will       continue           to maintain          the      Lemberg


         Eastpoint         Site     despite      the      fact      that     it has      been          advised             of     the    false      and     misleadiñg             content          of that


         page     unless      the    Court       awards            punitive            damages               against            Lemberg.


                     89.            Upon        information                 and     belief,          an award              of punitive              damages           in this       case     will     deter



         Lemberg           from     engaging            in the          intentional,               reckless,             and      misleading             conduct        specifically


         intended      to defame              Eastpoint            and      to solicit             clients         for    the        purpose        of    asserting       claims           against


         Eastpoint         based      upon       the    FDCPA,                among            other         statutes           and      laws.


                     90.            The       conduct         of     Lemberg             in maintaining                        the      Lemberg           Eastpoint         Site     goes       far


         behond      mere         negligence            and        should         be punished                  and        deterred.


                     91.             Based       on the          foregoing,             Eastpoint                 shodd            be awarded             punitive        damages              in the


         amount      of     $100,000.




                                    WHEREFORE,                             Eastpoint           respectfully                    requests          judgment          as follows:


                                                 a.                On its First               Cause          of Action,                 a money          judgment         against          Lemberg
                                                                   for      special         damages                and     consequential                  damages         incurred            as a result
                                                                   of      Lemberg's                defamatory                  statements,              in an amount              to be
                                                                   determined                 at trial        which             exceeds          the jurisdictional                threshold          of all
                                                                   lower          courts;


                                                 b.                 On its Second                    Cause          of Action,              a money          judgment           against

                                                                   Lemberg              for        special         damages               and     consequential             damages             incurred
                                                                   as a result           of        Lemberg's                defamatory               statements,          in an amount                 to be
                                                                   determined                 at trial        which             exceeds          the jurisdictional                threshold          of   all
                                                                   lower          courts;


                                                  c.               On its Third                Cause              of Action,             a permanent            injunction,            and      upon
                                                                   appropriate                notice          and        application,              a temporary           restraining
                                                                   preliminary                injunction                 and      pending          the     outcome         of this         action,

                                                                   restraining              and       prohibiting                 Lemberg            from      publishing            false,

                                                                   misleading,                defamatory                   or injurious             material          on the       Lemberg
                                                                   Website,            YouTube,                   or on         any      other     platform;


                                                  d.                On its Fourth                   Cause          of Action,             an award           of punitive            damages           in

                                                                   the      amount            of     $100,000;




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                                   e.          Awarding   such    other      and       further          relief    as this   Court   deems   just   and

                                               proper.




         Dated:         October         12, 2018
                        Buffalo,        New   York




                                                                 HODGSON                    R


                                                                                  ~"
                                                                 By:
                                                                              Steven             V/.    Wells
                                                                              Peter        H.      Wiltenburg
                                                                 The      Guaranty           Building
                                                                 140      Pearl        Street,         Suite     100

                                                                 Buffalo,         New        York          14202-4040
                                                                 Telephone:              716.856.4000
                                                                 Facsimile:             (716)          849.0349




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                                                              VERIFICATION                      OF     COMPLAINT




          STATE           OF NEW          YORK                             )
                                                                           : ss.
          COUNTY             OF ERIE                                       )




                                    I, Danielle          Green,       am the President              of Eastpoint          Recovery      Group,     the    Plaintiff       in
          the    above-captioned              action.        I have     read   the    foregoing  Verified Complaint     and know     its                      contents.
          The     facts    presented         in the      doctiment        are true      to my own knowledge,     except   as to matters                         stated         to
          be upon         information           and     belief,   and    as to those           rnatters,     I believe      them     to be true.    The      basis    for
          this   verification           is my    investigation           of the      subject        matter      of this   action.




                                                                                                     Danielle       Greer
          Sworn       to before         me
          this   J    day       of October,           2018




                      Notary        Public




                         GINA N M)LLER
                 NOTARY PUBLIC-STATE OF NEW YORK
                                No.01Ml6295392
                           Qualified     in Erie County
                 My Commission            Expires      ot-06-2022




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                                    EXHIBIT                  A
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      Sergei     Lemberg         is an   attorney           in    126     cases.

         1:08-cv-00164-                   Sisson      et al v. Coachmen                    Recreation            Vehicle
                                                                                                                                         filed    02/11/08   closed    06/02/09
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                                          Seekamp           v. It's      Huge,     Inc.         et al                                    filed    01/07/09   closed    11/21/14




         1:09-cv-00253-
                                          Garrett      v. Mercedes-Benz                      USA,          LLC     et al                 filed    03/03/09   closed    06/26/10
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         1:09-cv-01260-                   Sparacino          v. Financial              Credit                        Inc.     et
                                                                                                    Service,
                                                                                                                                         filed    11/10/09   closed    04/21/10
         GTS-RFT                          al




         1:09-cv-01427-
                                          Brown       v. I.C.          System,     Inc.         et al                                    filed    12/23/09   closed    03/23/10
        LEK-DRH



         1:10-cv-00029-
                                         Ledney        v. GC           Services,        L.P.       et al                                 filed    01/08/10   closed    06/24/10
        GLS-DRH



         1:10-cv-00112-
                                         Lopez        v. Forster          &    Garbus,           L.L.P.      et al                       filed    01/29/10   closed   05/10/10
        FJS-DRH




         1:10-cv-00555-                  Raiban        v. Eltman,             Eltman         &                    P.C.       et
                                                                                                  Cooper,
                                                                                                                                         filed    05/12/10   closed    10/26/10
        FJS-RFT                          al




         1:10-cv-00654-
                                         Gray       v. Atlantic           Credit       and       Finance,        Inc.       et al        filed    06/03/10   closed   07/29/10
        DNH-DRH



         1:10-cv-00775-                  Lynch        v. Financial             Asset      Management
                                                                                                                                         filed    06/30/10   closed    10/27/10
        DNH-RFT                          Systems,        Inc.      et al




         1:10-cv-00792-                  Entress       v. First         Revenue                                  LLC        et
                                                                                         Assürañce,
                                                                                                                                         filed    07/02/10   closed   02/14/11
        GTS-DRH                          al




      https://ecf.nynd.uscourts.gov/cgi-bin/iquery.pl?75970485462664-L                                                              1_0-1                             10/12/2018
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                                             Donnelly           v.       Sharinn          &    Lipshie         P.C.      et al                filed   07/16/10   closed   06/15/11




             0 ev             73-
                                             Caufield          v. CCB             Credit        Services          Inc.     et al              filed   07/16/10   closed    11/05/10




             0 c         0      5-
                                             Cassane           v. West            Asset        Manageilictit              et al               filed   08/04/10   closed    11/03/10




                                             Turner        v. CMI           Group             et al                                           filed   09/13/10   closed    12/13/10
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         1:10-cv-01323                       Polsinelle             v.   Cavalry           Portfolio           Services,          LLC
                                                                                                                                              filed   11/02/10   closed    12/23/10
        TJM-RFT                              et al




                              90-
                                             Reed       et al v. Oxford                   Management                  et al                   filed   12/09/10   closed   04/15/11
                c9




                c            582-
                                             Lewis        v.   MRS          Associates,                Inc.    et al                          filed   12/29/10   closed   03/07/11




         1:11-cv-00158-                      Gerstenberger                  v. National               Credit      Solutions,
                                                                                                                                              filed   02/10/11   closed   05/17/11
        GLS-DRH                              L.L.C.       et al




                              71-
                                             Williams           v. CCS             Financial           Services,           Inc.    et al      filed   02/15/11   closed   05/26/11
                c9




         1:11-cv-00861-                                        v.    Global          Credit       &      Collection
                                             Delaney
                                                                                                                                              filed   07/22/11   closed    11/22/11
        TJM-DRH                              Corporation                 et al




        1:11-cv-00875-                                     v. Cardinal                                                    LLC       et
                                             Young                                   Recovery             Group,
                                                                                                                                              filed   07/26/11   closed   01/04/12
        TJM-RFT                              al




        1:11-cv-01004-                       Sullivan          v. Accounts                 Receivable
                                                                                                                                              filed   08/23/11   closed    11/30/11
        TJM-DRH                              Mañagement,                   Inc.     et al




        1:11-cv-01033-                       Montalbo               et al v.       Simm         Associates,              Inc.     et al       filed   08/30/11   closed    12/01/11




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         1:12-cv-00001-                  Durham            v. Halsted           Financial                                LLC
                                                                                                   Services,
                                                                                                                                         filed   01/03/12   closed    06/01/12
        GTS-ATB                          et al




         1:12-cv-00217-                  Nicholson               v. The      Law       Offices        of    Kevin           Z.
                                                                                                                                         filed   02/01/12   closed    03/21/12
        MAD-DRH                          Shine,          PLLC        et al




         1:12-cv-00424-                  Johnson           v. Portfolio          Recovery             Associates,
                                                                                                                                         filed   03/08/12   closed    04/10/12
        TJM-RFT                          L.L.C.          et al




         1:12-cv-00526-                  Piche       v. ADT                                                              Inc.       et
                                                                      Security          Systems,           West,
                                                                                                                                         filed   03/23/12   closed    06/25/12
        TJM-RFT                          al




         1:12-cv-00566-                  Ellison         et al v. Diversified                Collection
                                                                                                                                         filed   04/02/12   closed    02/12/13
        GLS-CFH                          Services,            Inc.   et al




         1:12-cv-00967-
                                         weloth          v.     Stevens       Business           Service,           Inc.      et al      filed   06/14/12   closed   06/28/12
        NAM-RFT



         1:12-cv-01079-
                                         Rufo      v. Carter          Business           Service,          Inc.      et al               filed   07/06/12   closed   09/11/12
        LEK-CFH



         1:12-cv-01446-                  White       v. Midland               Credit      Management,                      Inc.,
                                                                                                                                         filed   09/19/12   closed   02/15/13
        LEK-RFT                          et al.




         1 12-cv-01563-                  Scherrer          v.    Stoneleigh            Recovery            Associates,
                                                                                                                                         filed   10/18/12   closed   01/11/13
        DNH-CFH                          LLC       et al




             3 c    -00060-
                                        Viles       v.    Stuart      Allan        &    Associates,               Inc.      et al        filed   01/16/13   closed   05/16/13




             3         0482-
                                        Berkley           v. Diversified               Consultants,               Inc.      et al        filed   04/29/13   closed    11/07/13




        1:14-cv-00160-
                                        June       v. Credit         Control           LLC       et al                                   filed   02/13/14   closed   06/13/14
        DNH-CFH




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                                         Vanderwarker             v. GE         Capital      Retail          Bank              filed   02/27/14   closed    11/06/14
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         1;14-cv-00204-
                                         Marciano        v. Harley-Davidson,                       Inc.                        filed   02/27/14   closed    06/12/14
        MAD-CFH



                        00207-
                                         Vanderwarker             v. Bill       Me Later,            Inc.                      filed   02/27/14   closed    04/17/14




                                         Reed      v. Asset       Recovery            Solutions,            LLC        et al   filed   03/07/14   closed    06/18/14




                                         Geary      v. Rubin        &    Rothman,            LLC                               filed   03/11/14   closed    03/31/15
             4S-A          B



         1:14-cy        00901-
                                         Knox       v. Performant              Recovery,           Inc.      et al             filed   07/21/14   closed    12/05/14




             4         -00909-
                                         Sandak       v. Penn       Credit        Corporation                et al             filed   07/22/14   closed    09/22/14




                                         Lambert        v. Does         1-10     et al                                         filed   07/25/14   closed    10/17/14
                       T




                                         Dudley       v. CheckRedi               of   Kentucky,              LLC       et al   filed   10/15/14   closed    12/15/14
                   C    H



         1;14-cv-01404-
                                        Florence        v. Dell      Financial            Services           LLC               filed   11/19/14   closed   05/12/15
        MAD-RFT




                                        Boivin       v. Wells       Fargo        Bank,       N.A.           et al              filed   12/18/14   closed   07/14/15
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         1:15-cv-00278-                 Crisci      v. Progressive             Finance                               LLC
                                                                                              Holdings,
                                                                                                                               filed   03/12/15   closed   04/23/15
        LEK-RFT                         et al




        1:16-cv-00249-                  Burke-Dollard             v. Jaguar           Land     Rover           North
                                                                                                                               filed   03/01/16   closed   09/09/16
        DNH-DJS                         America,        LLC




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        1:16-cv-00770-DJS                Fox       v. Forest        River,          Inc.     et al                                   filed   06/28/16   closed   12/07/17




                  ev-090M
                                         Demeke         v. Navient              Solutions,             Inc.                          filed   07/15/16   closed   06/22/17




                                         Wynne         v. Navient             Solutions,             Inc.                            filed   10/06/16   closed   12/23/16
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             79cv      090080-
                                         Campbell            v.    Synchrony                Bank                                     filed   01/25/17   closed   09/13/18




                  ev   00081-
                                         Campbell            v.    Gap,      Inc.                                                    filed   01/25/17   closed   04/10/17




        3:09-cv-00592-
                                         Flach       v. West         Asset          Management.                 Inc.                 filed   05/20/09   closed   08/26/09
        TJM-DEP



        3         c    00593-
                                         Gill      v. West         Asset      Mar.agement                     Inc.                   filed   05/20/09   closed   08/26/09




        3:09-cy        00634-
                                         Morgan         v. Nationwide                      Credit,     Inc.                          filed   06/02/09   closed   01/28/10




        3:10-cy        01287-
                                         Panella       v.    Security          Credit          Systems,              Inc.   et al    filed   10/26/10   closed   12/06/10




        110-cv-01469-                    Goodrich            v. National             Action          Financial
                                                                                                                                     filed   12/07/10   closed   03/31/11
        TJM-DEP                          Services,          Inc.    et al




        3:11-cy        00144-
                                         McKane             v. Worldwide                   Recoveries,               LLC     et al   filed   02/08/11   closed   05/24/11




        3:11-cv-01184-                   Smith       v. Commercial                                                            Inc.
                                                                                      Recovery              Systems,
                                                                                                                                     filed   10/03/11   closed   01/23/12
        GTS-DEP                          et al




        3:11-cv-01439-                   Davison         v. Phillips           &      Cohen                                  Ltd.
                                                                                                     Associates,
                                                                                                                                     filed   12/09/11   closed   02/23/12
        MAD-DEP                          et al




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                2 c         6N-
                                             Kimble       et al v. Loan         Science,          LLC       et al         filed   11/13/12   closed   02/19/13




        3               00012-
                                             Dunn       v. Valentine        &     Kebartas,          Inc.    et al        filed   01/04/13   closed   02/26/13
                 -c9




                3 c     00W-
                                             Newberry          v. Loan      Science,          LLC      et al              filed   04/12/13   closed    10/21/13




                  c     00704-
                                             Solak      et al v. Hain        Celestial        Group,         Inc.         filed   06/29/17   closed   05/18/18




                  ev        270-
                                             Pinho      et al v. Creditor's            Interchange,            Inc.       filed   11/24/08   closed    12/11/08




        5:09-cv-00111-                       Sanders       v. Premiere          Credit      of North          America,
                                                                                                                          filed   01/29/09   closed   06/17/09
        GTS-GJD                              LLC



                  ev        636-
                                             Rueckwald           v. Cohen         &    Slamowitz,            LLP          filed   06/02/09   closed   02/12/10




        5:09-cv-01179-                       Dickson       v. Redline                             Services          LLC
                                                                              Recovery
                                                                                                                          filed   10/22/09   closed   05/28/10
        NPM-GHL                              et al




                                             Browne        v. MBI        Associates,          Inc.    et al               filed   10/22/09   closed   07/02/10
                  D     P




                            332-
                                             Green      v. Mann        Bracken,          L.L.P.      et al                filed   11/30/09   closed   04/02/10




        5:09-cv-01333-
                                             Lanaux       v.   Capio      Partñêrs,        L.L.C.       et al             filed   11/30/09   closed   02/19/10
        FJS-DEP




            .          -0        5-
                                             Wood       v. Capital        One     Services,          LLC,       et al     filed   12/29/09   closed   09/21/12




        5_:10-cv-00015-




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        NPM-GHL                          Pinet     v.    CBE           Group,       Inc.     et al                                         filed   01/05/10   closed   03/30/10




        5:10-cv-00324-                   Moore          v.   GC        Services          Limited                                   et
                                                                                                         Partnership
                                                                                                                                           filed   03/19/10   closed   04/19/10
        NPM-GHL                          al




        5.10-cv-00857-
                                         Auclair         v. Cohen            &     Slamowitz,             L.L.P.       et al               filed   07/14/10   closed   09/02/10
        GTS-ATB



        5_:10-cv-01389-
                                         Pinet     v. EOS            CCA         et al                                                     filed   11/16/10   closed   01/20/11
        GTS-GHL



        5:10-cv-01546-
                                         Sorel     v. Capital             One       Services,         LLC      et al                       filed   12/21/10   closed   05/02/11
        NPM-DEP



        5:11-cv-00317-                   Tompkins            et al v. Credit                Collection         Services
                                                                                                                                           filed   03/21/11   closed   07/18/11
        NAM-ATB                          et al




        5:12-cv-01243-                   Yevseyev            v. Matthew                 Thomas        &     Associates,
                                                                                                                                           filed   08/02/12   closed    11/28/12
        LEK-DEP                          LLC       et al




        5:13-cv-00061-
                                         Chao      et al v. Budzik                  &     Dynia,      LLC          et al                   filed   01/16/13   closed   03/12/13
        DNH-TWD



        5:13-cv-00178-                   Daniels         v. Regional               Adjustment                               Inc.
                                                                                                          Bureau,
                                                                                                                                           filed   02/15/13   closed   05/10/13
        NAM-ATB                          et al




        5:13-cv-00837-                   Weierheiser              v.     Source         Receivables
                                                                                                                                           filed   07/16/13   closed    12/05/13
        GLS-ATB                          Management,                   LLC        et al




             4-cy    00167-
                                         Czapla         v. Time           Warner           Cable     Inc.     et al                        filed   02/19/14   closed   07/22/14




        5:14-cv-01531-
                                         Richardson             v.      Security          Credit     Systems           et al               filed   12/17/14   closed   06/17/15
        DNH-ATB



        5:15-cv-00199-
                                         Stevens         v. Professional                   Debt    Mediation               et al           filed   02/23/15   closed   04/08/15
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            5:15-cv-00657-                  Locastro             v. Phillips         &    Cohen                                  Ltd.
                                                                                                           Associates,
                                                                                                                                        filed   05/29/15   closed    12/17/15
           DNH-DEP                          et al




            5:15-cv-00830-
                                            Downs            v. Cawley           &    Bergmann,                LLP       et al          filed   07/08/15   closed    12/28/15
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            5:17-cv-00160-                                       v. Diversified            Adjustment
                                            Whitney                                                                  Service,
                                                                                                                                        filed   02/13/17   closed    10/16/17
           DNH-DEP                          Inc.     et al




            5:17-cv-00293-
                                            Smith           v. Simon's         Agency,           Inc.                                   filed   03/15/17   closed    11/01/17
            FJS-ATB




            5:18-cv-00327-
                                            Parris       v. Selip        &     Stylianou,             LLP      et al                    filed   03/14/18
           DNH-TWD



            5:18-cv-01108-                  Capstraw              v. Portfolio           Recovery             Associates,
                                                                                                                                        filed   09/14/18
            GTS-ATB                         L.L.C.          et al




           6:09-cv-01071-                   Van        Echaute         v. Law         Office          of    Thomas
                                                                                                                                        filed   09/22/09   closed    04/23/10
           NAM-GHL                          Landis,          Esq.




           6:09-cv-01099-
                                            Page       v.    MRS       Associates              Inc.                                     filed   09/29/09   closed    12/21/09
           NAM-GHL



           6:10-cv-00381-
                                           Emery            v.   Solomon          &      Solomon,             P.C.     et al            filed   04/01/10   closed   02/14/11
           DNH-GHL



           6:10-cv-00538-                   Tristani          v. California                                                 Inc.
                                                                                         Recovery            Bureau,
                                                                                                                                        filed   05/07/10   closed    12/15/10
           NAM-ATB                          et al




           6:10-cv-00872-                   Castro          v. California                                                 Inc.     et
                                                                                     Recovery              Bureau,
                                                                                                                                        filed   07/16/10   closed    12/15/10
           NAM-ATB                          al




           6:10-cv-01053-                  Rinkenberger                 v.   NCO          Fiñañcial                              Inc.
                                                                                                              Systems,
                                                                                                                                        filed   08/31/10   closed    12/22/10
           DNH-GHL                         et al




           6:11-cv-00145-                  Droszd            v. Creditors            Financial                           LLC       et
                                                                                                           Group,
                                                                                                                                        filed   02/08/11   closed   09/13/11
           MAD-DEP                         al




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            6:11-cv-00793-
                                            Hajdasz           v. Med-Rev                  Recoveries,                  Inc.   et al        filed   07/12/11   closed    12/02/11
            MAD-GHL



            6:11-cv-00911-
                                            Porten       et al v. Mercedes-Benz                                  USA,         LLC          filed   08/03/11   closed    07/17/12
            LEK-ATB



            6:11-cv-01157-                  Ruck        v. Collection                 Bureau            Of       The     Hudson
                                                                                                                                           filed   09/28/11   closed    11/28/11
            DNH-ATB                         Valley,       Inc.            et al




            6:12-cv-00702-                  Andrews                v. Diversified              Collection                Services,
                                                                                                                                           filed   04/30/12   closed    02/14/13
            GTS-DEP                         Inc.      et al




                39c    -      88-
                                            Luck       v. Atomic                  Truck      &      Equipment,                Inc.         filed   06/17/13   closed    11/18/13




            6:14-cv-00205-
                                            Rizio       v. Credit             Protection            Association                            filed   02/27/14   closed    06/06/14
           MAD-TWD



            6:14-cv-00598-                  Phillips          v.     Credit        Acceptance                 Corporation             et
                                                                                                                                           filed   05/20/14   closed    01/29/15
           DNH-TWD                          al




            6:15-cv-01484-
                                            Moot        v. FCA              US LLC           et al                                         filed   12/15/15   closed    06/14/16
           TJM-ATB



                8-     -01056-
                                            Dirocco           v. Centerline                 Solutions             LLC                      filed   09/04/18




           7:10-cv-00293-                  McMains                 v. Nelson,             Watson             &    Associates,
                                                                                                                                           filed   03/12/10   closed   04/23/10
           TJM-GHL                          LLC        et al




           7:10-cv-00511-                  McMains                 v. National              Asset       Recovery
                                                                                                                                           filed   04/30/10   closed   08/11/10
           NPM-ATB                          Services,              Inc.     et al




                                           Kio      et al v. CBE                   Group,        Inc.        et al                         filed   05/14/10   closed    12/27/10
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        NAM-GHL                            Lawlor       v. Collecto,          Inc.      et al                                        filed   10/11/10   closed    01/25/11




        7:10-cv-01229-                     Sovie      v. Progressive              Fiñañcial                            Inc.
                                                                                                    Services,
                                                                                                                                     filed   10/14/10   closed    12/23/10
        TJM-GHL                            et al




        7:10-cv-01288-                     Peck      v. Academy            Collections                             Inc.         et
                                                                                                   Service,
                                                                                                                                     filed   10/26/10   closed    05/04/11
        GTS-GHL                            al




            11    ev      0141-
                                           McMains            v. Zwicker          &    Associates,             P.C.      et al       filed   02/08/11   closed    08/02/11




        7:11-cv-00649-
                                           Augustine           v. Credit      Control           LLC       et al                      filed   06/10/11   closed    06/22/11
        TJM-GHL




                                           Mayo        v. CU      Recovery,            Inc.     et al                                filed   07/01/11   closed    09/01/11
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        7:12-cv-00061-
                                           Messore           v. Daniels       &    Norelli,        P.C.        et al                 filed   01/12/12   closed   04/13/12
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        7:12-cv-00209-                     Augustine           v. MIG      Capital                                       Inc.
                                                                                              Management,
                                                                                                                                     filed   01/31/12   closed   08/01/12
        DNH-ATB                            et al




             3         -00242-
                                           Mayo       et al v. CitiGroup,                Inc.    et al                               filed   03/05/13   closed   04/23/13




        7:13-cv-00913-                     Augustine           v. Financial           Asset      Resolution,
                                                                                                                                     filed   08/02/13   closed    11/13/13
        TJM-TWD                            LLC       et al




        8:09-cv-01331-
                                           Debien       v. Greystone              Alliance,        L.L.C.         et al              filed   11/30/09   closed   04/21/10
        DNH-RFT



        8:11-cv-00017-
                                           Wheeler           v. Global     International,               Inc.     et al               filed   01/06/11   closed   03/31/11
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        8:12-cv-01348-                     Modelle       v. Diversified               Collection          Services            et
                                                                                                                                     filed   08/31/12   closed   02/20/13
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                                         Modelle        v.    Security      Credit      Systems       et al             filed    06/21/13   closed    02/06/14
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      Sergei     Lemberg             is an   attorney           in   280      cases.

         1;08-cv-01125-
                                             Chernaya            v. Elite      Motor          Group        Corp.      et al               filed   03/17/08   closed   06/11/08
        RRM-JO



         1·08-cv-04856-FB-                                    v. Commercial
                                             Sondey                                        Recovery          Systems,
                                                                                                                                          filed   12/01/08   closed   08/10/09
        J_Q                                  Inc.




         1:09-cv-03015-                      Vladimir           &    Elena      Fishman           v. Bay       Ridge
                                                                                                                                         filed    07/13/09   closed   01/14/10
        ILG-JO                               Nissan       et al




                                             Smith       et al v. National               Credit        Adjusters,           LLC          filed    07/20/09   closed    10/05/09
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         1:09-cv-03880-
                                             Haynes           v. Planet        Automall,           Inc.     et al                        filed    09/09/09   closed   09/09/11
        JBW-RER



         1:09-cv-04766-                      Rozier       v.    NCB         Management                                            et
                                                                                                      Services,        Inc.,
                                                                                                                                         filed    11/02/09   closed   01/13/10
        NG-RER                               al et al




         1:09-cv-04767-SJ-
                                             Greaker           v. Integrity        Financial           Partners,        Inc.             filed    11/02/09   closed    12/21/09
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        1:09-cv-04855-                       Azema         v. Advantage                Auto       Finance          Company
                                                                                                                                         filed    11/06/09   closed   06/14/10
        ENV-MDG                              LLC        et al




        1:09-cv-05087-                       Hershkowitz              v.    Stevens        Business          Services,
                                                                                                                                         filed    11/18/09   closed   02/11/10
        ARR-CLP                              Inc.     et al




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                                             Soto     v. CTI         Collection          Services,          Inc.     et al               filed    11/16/09   closed   05/13/10




        1:09-cv-05298-
                                             Rozier       v.    CompuCredit                Corporation              et al                filed    11/30/09   closed   02/18/10
        RJD-JMA




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                                             Blobshtayn                         v. Northland            Group,       Inc.      et al              filed   11/30/09   closed    04/27/10
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         1:09-cv-05301-
                                             Alexander                     v. North          Shore       Agency,            Inc.                  filed   11/30/09   closed    06/22/10
         CBA-ALC



         1:09-cv-05387-FB-                                       Financia'
                                             Staiti        v.                            Recovery           Services,              Inc.     et
                                                                                                                                                  filed   12/09/09   closed    03/09/10
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                 -cv-05433-SJ-
                                             Jones         v. C-Tech                  Collections,           Inc.                                 filed   12/10/09   closed    05/21/10




         1:09-cv-05619-                      Gonzales                 v. First         National          Collection                Bureau,
                                                                                                                                                  filed   12/22/09   closed    05/14/10
         ARR-VVP                             Inc.




         1:09-cv-05620-
                                             Baldeo             v. LTD               Financial          Services,        L.P.         et al       filed   12/22/09   closed    02/11/10
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         1:10-cv-00212-
                                             Cornali             v.        NCC        Business          Services,           Inc.     et al        filed   01/19/10   closed    06/14/10
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                                             Sirota         v. Nationwide                      Credit       Corporation                   et al   filed   02/01/10   closed    12/17/10




                 -cv-00708-8-
                                             Sadiki         v. United                 Recovery            Systems,           LP       et al       filed   02/16/10   closed    10/29/10




         1:10-cv-00709-
                                             Cucuzza              v.        SRA        Associates,           Inc.                                 filed   02/16/10   closed   06/22/10
        RJD-JO




                                                                                Merchants'
                                             Mañs0ür                  v.                          Credit         Guide        Co.         et al   filed   02/22/10   closed   06/09/10
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         1:10-cv-01080-                      Catanzaro                     v.    NCC     Business           Services           of     Ohio,
                                                                                                                                                  filed   03/08/10   closed    12/20/10
        CBA-VVP                              Inc.        et al




         1:10-cv-01138-                                                                                                                           filed   03/10/10   closed   06/22/10
                                             Crivera             v. Bureau              of     Collection           Recovery,




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                                             Rozier         v. Midland                Credit         Management                    et al            filed   03/10/10   closed    02/18/11




         1:10-cv-01140-
                                             Lityak         et al v. Masada                    III   Inc.      et al                                filed   03/11/10   closed    07/08/10
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         1:10-cv-01148-SJ-                   Ramos              v. Redline                                                    LLC.          et
                                                                                    Recovery                Services,
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                                             Crivera             v. Mitchell           N.    Kay,           P.C.      et al                        filed    03/11/10   closed    02/03/11




                      01216-
                                             Rozier         v. Calvary              Portfolio           Services,             LLC                  filed    03/15/10   closed   09/09/10




         1:10-cv-01217-                      Shamecca                Flowers          v. Unique               Management
                                                                                                                                                   filed    03/15/10   closed   06/14/10
        JBW-RLM                              Services,             Inc.     et al




             0-c      01218-
                                             Flowers             v. Enhanced                Recovery               Corp.      et al                filed    03/15/10   closed   06/11/10




         1:10-cv-01240-SJ-
                                             Flowers             v. ER       Solutions,              Inc.     et al                                filed    03/16/10   closed   09/01/10
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         1:10-cv-01409-
                                             Matson             v. Ashwced              Financial,                 Inc.    et al                   filed    03/26/10   closed   07/02/10
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        1:10-cv-01532-JG-                    Baldeo             v. Integrity          Financial                                Inc.        et
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        1:10-cv-01666-
                                             Singh         v.     Sharinn         &    Lipshie,             PC et al                               filed    04/12/10   closed    12/30/10
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        1:10-cv-02067-                       Dubinets              v. Retrieval             Masters            Creditors
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        1:10    ev-02246-
                                         Qoku      v. Asset         Acceptance             Capital      Corp.       et al           filed   05/14/10   closed   07/08/10




        1:10-cv-02248-
                                         Childs     v. Pinnacle             Financial        et al                                  filed   05/14/10   closed   07/16/10
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        1:10-cv-02622-                   Gorga     v. Bureau           of    Collection                              Inc.
                                                                                                Recovery,
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        1:10-cv-02623-                                  v. Regional          Adjustment                             Inc.
                                         Paisley                                                     Bureau,
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        1:10-cv-02730-
                                         Saint-Victor          v.    Simm       &   Associates,           Inc.      et al           filed   06/14/10   closed   10/27/10
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        1:10-cv-02732-                   Mendez          v. The      Allen      Daniel                              Inc.
                                                                                              Associates,
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        1:10-cv-02734-                   Luciano         v. Harvard           Collection                            Inc.
                                                                                                 Services,
                                                                                                                                    filed   06/14/10   closed   08/06/10
        JBW-ALC                          et al




        1:10-cv-02735-
                                         Luciano         v. National          Recovery          Agency                              filed   06/14/10   closed   08/17/10
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                                         Charles        v. Focus       Receivables             Managunent                   et
         1:10-cv-03148-LB                                                                                                           filed   07/08/10   closed   03/01/11
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                c     -03273-
                                         Rozier     v. Fiñañcial             Recovery          Systems,          Inc.               filed   07/15/10   closed   03/08/12




        1:10-cv-03274-
                                         Walter     v. FMS,           INC.      et al                                               filed   07/15/10   closed   04/06/11
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        1:10-cv-03275-                   Remini         v. Asset       Acceptance            Capital        Corp.          et
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                                                     Caldwell              v.   ConServe         et al                                                 filed   09/24/10   closed    02/24/11




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                                                     Daniel        v. Budzik              &   Dynia,        LLC      et al                            filed    09/24/10   closed    12/01/10




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                                                     Talal       v. Equifax           Inc.                                                            filed    10/04/10   closed    12/12/11




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                                                     Ryan        v. Erie         Mitigation            Group,       LLC           et al               filed    11/05/10   closed    02/04/11




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                                                     Farrell       v. EOS           CCA        et al                                                  filed    11/05/10   closed    04/19/11




                                                     Heath        v. Coast          Professional            Inc.                                      filed    12/02/10   closed    03/30/11
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         1:10-cv-05723-                              Palmeri           v. Law        Offices       of     Kevin         Z.       Shine,
                                                                                                                                                      filed    12/09/10   closed    01/12/11
         BMC                                         PLLC         et al




                0-c           05965-
                                                     Collins          v.    Simm      Associates,            Inc.       et al                         filed    12/22/10   closed    03/30/11




         1:10-cv-05966-                              Worthen               v. Creditors         Financial                           LLC        et
                                                                                                                    Group
                                                                                                                                                      filed    12/16/10   closed   02/14/11
        KAM-JMA                                      al




         1:11-cv-00685-                                                v. Law        Office       of    Thomas           Landis           et
                                                     Murphy
                                                                                                                                                      filed    02/10/11   closed   04/04/11
         SLT-JMA                                     al




         1:11-cv-00716-
                                                     Gonnelly              v.   Sunrise       Credit       Services,              Inc.    et al       filed    02/11/11   closed   03/24/11




         1:11-cv-00849-FB-                           Grotto-Casalino                  v. Nelson,           Hirsch            &




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                                          King       v.     Wescom           Central       Credit      Union           et al        filed   08/29/11   closed   05/31/12




        1:11-cv-04268-
                                          Giordano            v. Conserve              et al                                        filed   09/06/11   closed   01/03/12
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        1:11-cv-05048-                    Donovan             v. Global         Acceptance             Credit
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        1:11-cv-05130-                    Brown           v. Accounts           Receivable            Management,
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        1:11-cv-05333-                    Virella         v. Accounts           Receivable             Management,
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        RRM-JMA                           Inc.      et al




        1.11-cv-05334-                    Latham            v. Nelson,         Watson           &   Associates,
                                                                                                                                    filed   10/31/11   closed    12/13/11
        SLT-RER                           L.L.C.          et al




        1:11-cv-05465-
                                          Thomas            v. EOS        CCA          et al                                        filed   11/08/11   closed   02/24/12
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        1:11-cv-05736-                    Etienne           et al v. Diversified                Collection
                                                                                                                                    filed   11/21/11   closed   03/30/12
        DLI-JO                            Services,           Inc.     et al




        1:11-cv-06299-                    Worthen            v. Midland           Credit         Management,              Inc.
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        1:12-cv-00211-JG-                 Ruiz       v. Diversified             Collection                              Inc.
                                                                                                     Services,
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        1:12-cv-00291-                    Quillan           v. Diversified             Collection          Services,
                                                                                                                                    filed   01/19/12   closed   08/14/12
        ERK-MDG                           Inc.      et al




        1:12-cv-00549-
                                          Burns       v.     ConServe           et al                                               filed   02/03/12   closed   03/27/12
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        1:12-cv-00693-
                                          Cespedes-Arana                  v. Client            Services,        Inc.    et al       filed   02/10/12   closed   03/28/12
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                                         Patterson           v. Capital          Accounts,              LLC         et al              filed   03/02/12   closed    09/06/12
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         1:12-cv-01175-
                                         Luna        v. Daniels           &    Norelli,          P.C.       et al                     filed    03/08/12   closed    06/08/12
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         1:12-cv-01366-
                                         Shaw        v. Auto       Palace,             Inc.                                           filed    03/19/12   closed    01/18/13
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         1:12-cv-02068-                  Dennis          v. Law       Office           of     Harold        E.   Scherr
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         1:12-cv-02069-                 Andrade             et al v. Receivables                    Performance
                                                                                                                                      filed    04/26/12   closed    09/11/12
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         1:12-cv-02406-                  Ortiz      v.    Source       Receivables                 Manwement
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         1.12-cv-02407-
                                        Rivera           v. Pioneer           Credit          Recovery,          Inc.       et al     filed    05/14/12   closed    06/26/12
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         1:12-cv-02408-                 Habeeb            et al v. Enterprise                   Recovery            Systems,
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         1:12-cv-03418-                 Morales           v. Northeast             Credit         &     Collections            et
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         1:12-cv-03745-                 Shimonov             et al v. Monarch                    Recovery
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        DLI-SMG                         Management,                Inc.       et al




         1:12-cv-03746-
                                        Phifer       v. Kirschenbaum                        &   Phillips,        P.C.       et al     filed    07/30/12   closed   02/06/13
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        1:12-cv-03885-                  Gomez            v. Monarch             Recovery               Managemêñt,
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        RLM                             Inc.     et al




        1:12-cv-03888-                  Rose        v. Enterprise                                                       Inc.   et
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         ILG-RLM                        Inc.        et al




         1:12-cv-04007-FB-
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         1:12-cv-04172-                  Sanchez            v. Vengroff,               Williams        &    Associates,
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         WFK-RML                        Inc.        et al




         1:12-cv-05172-                 Alexis         and      Lois         Phifer       v. Immediate            Credit
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         DLI-CLP                        Recovery,              Inc.     et al




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         1:12-cv-06211-                 LaGarenne               v. Fair          Collections           &
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         1_·_13-cv-03073-               Lefkowitz              v. National                              Collection
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        SLT-RML                         Services,            Inc.     et al




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                                                     Tkalych          et al v. Mercedes-Benz                        USA,          LLC          filed    11/12/13   closed    03/13/14




         1:13-cv-06407-
                                                     Cameron           v. DISH         Network,              LLC                               filed    11/19/13   closed    01/22/15
        SLT-LB




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                                                     Worthen          v. Harley-Davidson                      Credit       Corp.               filed    11/19/13   closed   06/16/14




         1:14-cv-00230-
                                                     Scarola         v. Citigroup,           Inc.     et al                                    filed    01/09/14   closed   04/15/14
        DLI-RER




         1:14-cv-00741-                              Daniels         v. Everest        Receivable                                  Inc.
                                                                                                                 Services,
                                                                                                                                               filed    02/04/14   closed   05/23/14
        ARR-SMG                                      et al




         1:14         ev        01621-
                                                     Olusesan          v. Bluestem             Brands,           Inc.                          filed    03/10/14   closed   08/04/14




         1:14-cv-01736-                              Weaver          v. Midland            Credit                                    Inc.
                                                                                                        Mañagement,
                                                                                                                                               filed    03/17/14   closed   07/23/14
        PKC-VVP                                      et al




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                                                     Caldwell          v. Collection            Tecimelegy,                Inc.      et al     filed    03/17/14   closed   06/04/14




         1:14-cv-03265-                              Hatzioannide            v. American                Coradius
                                                                                                                                               filed    05/23/14   closed    11/05/14
        MKB-RML                                      International          LLC        et al




                                                     Andrews           v. Reliant          Capital          Solutions        et al             filed    06/19/14   closed    11/28/14
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        1:14-cv-07148-
                                                     Cucuzza          v. WeHs        Fargo           Bad,        N.A..       et al             Ged      12/08M     closed   07A5A5
        JBW-RML



        1:15-cv-00156-SJ-
                                                     Shapiro         v. Pizza       Club       Slices        &    squares         et al        filed    01/13/15   closed   02/09/16
        SMG




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         ST                                 Kerr     v. Monterey              Finañcial           Services,           Inc.              filed   07/26/16   closed    03/16/17




         1:16-cv-05412-
                                            Cali     v.    Samsung          Electronics            America,             Inc.           filed    09/28/16   closed    10/26/16
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         1:17-cv-01613-
                                            Kolokithias             v. Convergent             Outsourcing,                   Inc.      filed    03/22/17   closed    11/06/17
        PKC-JO




         1:17-cv-05970-
                                            Redman           v.    NRA      Group,         LLC.       et al                            filed    10/12/17   closed    12/07/17
        -RRM-CLP




         1:17-cv-07571-
                                            O'Bryan          v. Turtle        Creek        Assets,       Ltd.        et al             filed    12/29/17   closed    03/05/18
            RR-ST




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                                            Dudkin          v. Nissan         North       America,            Inc.                     filed    01/11/18   closed    07/27/18
                       SJB




         1:18-cv-02904-FB-                                v. New       York      Chiropractic             &      Physical
                                            Reilly
                                                                                                                                       filed    05/15/18
        VMS                                 Therapy          PLLC



         1:18-cv-04096-
                                            Rivera         v. Prisma        Glass     &     Mirror        Inc.,                        filed    07/17/18
        KAM-JO



        2         -c         0    8-
                                            Paralikas         v. Mercedes-Benz                    USA,        LLC           et al      filed    03/05/07   closed   05/20/08




        2:08-cv-04815-
                                            Jorgensen             v. Debt     Recovery            Solutions,            LLC            filed    11/26/08   closed   02/04/09
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        2 098           -04935-
                                            Womoczyl               et al v. Mercedes-Benz                       USA,           LLC     filed    12/04/08   closed    11/17/11




        2:08-cv-04982-
                                            Pinho         et al v. Creditor's             Interchange,               Inc.              filed    12/11/08   closed   09/23/09
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        2:09-cv-00014-
                                            Kosovoy           v.   NCO        Financial        Systems,              Inc.              filed    01/02/09   closed   04/01/09
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                                               Kosovoy                v. United         Recovery            Systems,           LP               filed   01/12/09   closed    05/21/09
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        2:09-cv-00255-                         Fernandez               v. Major         Nissan        of    Garden            City,
                                                                                                                                                filed   01/20/09   closed    12/01/09
        LDW-ETB                                Inc.      et al




        2 09        ev-01215-JS-
                                               Bucello           v. Mann           Bracken,           LLP                                      filed    03/23/09   closed    09/08/09




        2:09-cv-01216-                         Gastaliturris              v. Global          Credit         and     Collection
                                                                                                                                               filed    03/23/09   closed    11/18/09
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                                               Guido        v.    NRA        Group,          LLC                                               filed    03/23/09   closed    10/14/09
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        2 099            -01257-JS-
                                               Stalter      v. CBCS               National                                                     filed    03/23/09   closed    07/08/09




        2 0         c          335-
                                               Carpino           v.    Oxford          Management                 Services,           Inc.     filed    03/30/09   closed    09/08/10




           099-cy             1632-
                                               De     Jesus       v.    NCO        Financial          Systems,           Inc.                  filed    04/17/09   closed    10/30/09




        2:09-cv-02395-                         Asencio           v. Daniels,                           Golden          &
                                                                                        Norelli,
                                                                                                                                               filed    06/04/09   closed    12/08/11
        DRH-WDW                                Wexler,           P.C.




        2:09-cv-02556-                         Steward           v. Diversified              Collection             Services,
                                                                                                                                               filed    06/12/09   closed   08/21/09
        ADS-ETB                                Inc.




                                               Pearson           v. Capital           Management                  Services,           LP       filed    07/20/09   closed   01/26/10
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        2:09-cv-03125-
                                               Small       v. Ashton              &    Weinberg                                                filed    07/20/09   closed    11/04/09
        JFB-WDW




                                               Daigle       v. Redline                Recovery         Services,           LLC.                filed    07/20/09   closed   02/03/10
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          2:09-ev-03127-
                                          Borg      v. Integrity            Fiñañcial            Partners,           Inc.                   filed   07/20/09   closed    11/30/09
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          2:09-cv-03129-
                                          Borg      v.     Sunrise         Credit         Services,          Inc.                           filed   07/20/09   closed    10/02/09
          ADS-MLO



          2:09-cv-03497-
                                          Sladic         v. I.C.     System,           Inc.                                                 filed   08/10/09   closed   02/08/11
          SMG



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                                          Greco        v. I.C.       System,           Inc.                                                 filed   09/14/09   closed   02/05/10
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                                          Butto     v. Miracle              Fiñañcial,               Inc.   et al                           filed   10/19/09   closed   07/16/12
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          2    99-c        621-
                                          Petite     v. National             Recovery                 Agency         et al                  filed   10/26/09   closed   04/09/10




          2:09-cv-04623-                  Passaretti            v. Pinnacle           Fiñãñciâ1                             Inc.     et
                                                                                                            Group,
                                                                                                                                            filed   10/26/09   closed   03/15/10
          SJF-AKT                         al




          2:09-cv-05090-                  Starken          v. Midland            Credit                                       Inc.
                                                                                                Management,
                                                                                                                                            filed   11/16/09   closed   05/05/10
          JFB-WDW                         et al




          2:09-cv-05091-                                   v.    Capital        Mâñagerñêñt
                                          O'Leary                                                            Services,
                                                                                                                                            filed   11/17/09   closed   03/11/10
          ADS-AKT                         L.P.     et al




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                                          Hoffman            v. First       Revenue             Assurance             et al                 filed   12/22/09   closed   05/05/10
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          2:10-cv-00143-
                                          Murphy           v. Alliance              One       Inc.      et al                               filed   01/12/10   closed   07/27/10
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                                          Mills     v. Miracle             Fh       añcial,      Inc.       et al                           filed   02/08/10   closed   02/15/11




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                                                Rykowski              v. Cohen          &   Slamowitz,          L.L.P.          et al      filed   03/22/10   closed    06/21/10




        2     0 c               300-
                                                Cafiero         v. Rubin       &     Rothman,            LLC        et al                  filed   03/22/10   closed    03/29/11




        2:10-cv-01667-                          Schettino          v. Receivable             Management
                                                                                                                                          filed    04/12/10   closed   03/08/11
        LDW-WDW                                 Services         Corp.      et al




              09-c
                                                Torres        v. FMS        Financial           Solutions           et al                 filed    04/26/10   closed    11/24/10




        2:10-cv-01877-JS-
                                                Kushner          v. Riddle          &   Associates,           PC et al                    filed    04/26/10   closed   06/21/10
        ARL




                                                Lezeaño          v.     A & K       Car     Exports         Corp.                         filed    05/10/10   closed    11/15/10
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        2     0-c         2247-
                                                Bell        v. EOS      CCA      et al                                                    filed    05/14/10   closed   07/08/11




        2     0 c       092
                                                Metzger          v. First     Source         Advantage,              LLC       et al      filed    05/17/10   closed   07/28/10




                 c        22%                   Fairstone-Lubet               v. RJM         Acquisitions              et al              filed    05/17/10   closed   05/18/11




        2:10-cv-02281-                                             v.   Summit          Collection                             Inc.
                                                Rebnicky                                                    Services,
                                                                                                                                          filed    05/17/10   closed   04/09/11
        ADS-WDW                                 et al




                                                Ryan         v. National       Credit        Adjusters,         LLC.           et al      filed    06/14/10   closed   09/28/10
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        2:10-cv-02733-JS-                       Cannam           v. United         Collection                           Inc.     et
                                                                                                      Bureau,
                                                                                                                                          filed    06/14/10   closed   08/05/10
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                                          Butto      et al v. Collecto,                  Inc.                                               filed   06/23/10   closed    11/07/14




          2:10-cv-03335-                  Bocchi       v. Gutman                 Mintz        Baker          &
                                                                                                                                            filed   07/20/10   closed    10/27/11
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          2:10-cv-03336-                  Malone        v.     Creditors             Financial                           LLC           et
                                                                                                          Group,
                                                                                                                                            filed   07/20/10   closed    10/06/10
          LDW-ETB                         al




                 0-        03574-
                                          Lewis      v. Northland                 Group          Inc.        et al                          filed   07/30/10   closed   03/01/11
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          2:10-cv-03575-                  Nobles       v. Rapid                                                         Inc.      et
                                                                            Recovery             Solutions,
                                                                                                                                            filed   07/30/10   closed    12/17/10
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                                          Brandau        v.        Client      Services,           Inc.       et al                         filed   08/12/10   closed    12/23/10




          2:10-cv-04127-
                                          Campbell            v. Nan          Geist       Fabor,          P.C.       et al                  filed   09/07/10   closed   02/22/11
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          2:10-cv-04289-                  Thomas        v. Mullooly,                                                        &
                                                                                      Jeffrey,          Rooney
                                                                                                                                            filed   09/20/10   closed    10/26/10
          ADS-ETB                         Flynn      LLP           et al




          2      0
                                          Luciano        v. Capital              Accounts,              LLC          et al                  filed   09/20/10   closed   03/08/11
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          2 10-cy          04420-
                                          Stein     v. Collection                Company                of    America            et al      filed   09/24/10   closed   08/09/11




          2:10-cv-04432-
                                          Clarke      v. Tate           &   Kirlin        Associates,                Inc.       et al       filed   09/27/10   closed   02/02/11
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          2:10-cv-04863-JS-                                          Financia'
                                          O'Connor            v.                         Asset      Management
                                                                                                                                            filed   10/22/10   closed   02/08/11
          WDW                             Systems,           Inc.     et al




          2:10        ev   04864-
                                          Soderlund            v. CACSI               et al                                                 filed   10/22/10   closed    12/03/10




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                                         Augustin          v. Forster        &   Garbus,          LLP        et al                   filed   10/22/10   closed    07/11/11




         2:10-cv-05271-                               v. GC         Services       Limited                                    et
                                         Kinney                                                     Partnership
                                                                                                                                     filed   11/12/10   closed    05/27/11
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         2:10-cv-05272-                  Stoddart         v. Monarch           Recovery            Managemêñt,
                                                                                                                                     filed   11/12/10   closed    02/24/11
         SJF-AKT                        Inc.     et al




         2:10-cv-05548-                 Roswell           et al v. Kirscheñbaum                    &     Phillips,
                                                                                                                                     filed   11/26/10   closed    03/10/11
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         2:10-cv-05549-                 O'Connor            v. Meridian          Financial                               Inc.
                                                                                                       Services,
                                                                                                                                     filed   11/26/10   closed    03/08/11
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         2:10-cv-06014-                                    v. Commoñwealth                      Fiñancial
                                        Rebnicky
                                                                                                                                     filed   12/23/10   closed    06/30/11
         JFB-WDW                         Systems,         Inc.     et al




         2:11-cv-00293-                 Hochstrasser             v. Diversified                                        Inc.
                                                                                           Consultants,
                                                                                                                                     filed   01/18/11   closed    04/20/11
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        2:11-cv-01327-
                                        Tserpelis          v.    ALW       Sourcing,         L.L.C.         et al                    filed   03/17/11   closed    06/28/11
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        2_;11-cv-01862-                 Bonaguro            v. Portfolio         Recovery            Associates,
                                                                                                                                     filed   04/15/11   closed    03/20/12
        LDW-ETB                         et al.




        2:11-cv-02138-                  Sanchez           v. The     Law       Office      of     John      P. Frye,
                                                                                                                                     filed   04/28/11   closed    12/07/11
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        2:11-cv-03453-JS-
                                        Catti     v. Zwicker           &    Associates,            P.C.     et al                    filed   07/15/11   closed   09/26/11
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        2:11-cv-04078-
                                        Sapuy       v. Protocol            Recovery          Service,         Inc.      et al        filed   08/22/11   closed   07/30/12
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        2:11-cv-04528-                                   et al v. Portfolio
                                        Murphy                                          Recovery




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         2:11-cv-04529-
                                        Murphy              v. Plaza        Associates             et al                                filed   09/16/11   closed    02/09/12
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         2:11-cv-04656-                  Zulferino            v. Peter        T. Roach         &      Associates,                   '
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         2:11-cv-04657-
                                        Elfaham              v.    Cohen      &    Slamowitz,               L.L.P.          et al       filed   09/23/11   closed    01/26/12
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         2:11-cv-04930-
                                         Sapuy         v. Diversified              Consultants,              Inc.     et al             filed   10/07/11   closed    11/08/11
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         2:11-cv-05028-
                                        Landi          v. Conserve              et al                                                   filed   10/14/11   closed    02/04/12
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         2:11-cv-05047-JS-               Sturza        v.    Omni       Credit          Services       of    Florida,
                                                                                                                                        filed   10/17/11   closed    05/30/12
         WDW                            Inc.        et al




         2:11-cv-05336-                 Shelton             v. Account           Control                             Inc.     et
                                                                                               Systems,
                                                                                                                                        filed   10/31/11   closed    02/23/12
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         2:11-cv-05464-
                                        Karouzakis                 v. Captial       Accounts,              LLC        et al             filed   11/08/11   closed    12/21/11
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        2:11-cv-05891-JS-               Peterman              v. Commercial                 Recovery           Systems,
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        WDW                             Inc.        et al




        2:11-cv-06106-                  Hamlett             et al v.    Santander            Consumer                USA
                                                                                                                                        filed   12/15/11   closed    11/25/15
        JFB-GRB                         Inc.        et al




        2:11-cv-06300-                  Karakatsanis                 et al v. First         Credit         Services,
                                                                                                                                        filed   12/23/11   closed   04/23/12
        ADS-GRB                         Inc.        et al




        2:11-cv-06321-
                                        Rosner          v. Gold         Key       Credit,      Inc.        et al                        filed   12/27/11   closed   03/09/12
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                                           Nahas        v. Patenaude                 &     Felix       A.P.C.          et al                  filed   12/27/11    closed   01/30/12




        2:12-cv-01173-                     Herskovitz               v. American                                       Service
                                                                                              Recovery
                                                                                                                                              filed   03/08/12    closed   07/05/12
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                                           Salinovic               v. Auto       Expo         Ent.      Inc.                                  filed   03/19/12    closed   08/27/12




        2:12-cv-01365-
                                           Sparano            v.    Security         Autosales,                Inc.                           filed   03/19/12    closed   07/05/12
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        2:12-cv-01702-                     Heath       v. Receivable                     Performance
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        2:12-cv-02941-                     Hankerson                v. Mel        S. Harris            and      Associates,
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        2:12-cv-03887-                     Pruden        v.        RMS       -                        Mañagemcñt
                                                                                 Recovery
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                                           Collado         v. Rubin              &   Rothman,                LLC       et al                  filed   08/13/12    closed   02/07/14
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        2:13-cv-01302-                     Augustin            v.     Ogden          Check           Approval           Network,
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        2:13-cy-03068-
                                           Collado         v. Daniels                &    Norelli,        P.C.        et al                   filed   05/24/13    closed    11/14/13
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        2:13-cv-03069-
                                           Mims        v. Protocol               Recovery              Service,         Inc.     et al        filed   05/24/13    closed   08/21/13
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        2:13-cv-03179-
                                           Russo       v. Client             Services,          Inc.      et al                               filed   05/31/13    closed   07/23/13
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        2:13-cv-03662-                     Conti       v. Diversified                 Adjustment                                 Inc.
                                                                                                                 Service,
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        2:13-cv-03833-                       Williams             v. Dynamic                                  Solutions
                                                                                           Recovery
                                                                                                                                               filed   07/10/13   closed    10/09/13
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        2:13-cv-04279-                       Raicovich              v. Everest           Receivable            Services,
                                                                                                                                              filed    07/29/13   closed    01/14/14
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             3 ev9-          239-
                                             Trama          v.    Global         Recovery            Group,          LLC       et al          filed    09/19/13   closed    06/26/14




        2:13-cv-05403-
                                             Swain          v. Cohen            &     Slamowitz,            L.L.P.       et al                filed    09/27/13   closed    12/30/13
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        2:13-cv-05404-
                                             Exum          v. GC           Services,         L.P.     et al                                   filed    09/27/13   closed   01/08/14
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        2:13-cv-05863-
                                             Williams             v. TRI         Marketing            Corporation                             filed    10/24/13   closed   07/15/14
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        2:13-cv-05982-                       Collado             et al v. Performant                                         Inc.      et
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        2    3 ev-       280-
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        2:13-cv-06406-
                                             Reilly        v. Reliant            Capital        Solutions            et al                    filed    11/19/13   closed    10/07/14
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        2:14-cv-00229-                       Annunziato                 v.    Cablevision            Systems
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        2:14-cv-00231-
                                             Wider          v.    Credit        One     Fineuicial        et al                               filed    01/09/14   closed   03/20/14
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        2:14-cv-01533-
                                             Loeweñstein                   v. Jaffe      &    Asher      LLP         et al                    filed    03/06/14   closed   06/06/14
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        2:14-cv-01535-                       Hochstrasser                    v. The     Carleton                                Inc.
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          2:14-cv-01620-                  Collado           et al v. Regional              Adjmtment               Bureau
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          2:14-cv-01751-JS-
                                          Pacifico          v. BP      Auto      Sales,        LLC                                  filed   03/17/14   closed   05/27/14
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          2:14-cv-02687-                  Marchica            v. American              InterContinental
                                                                                                                                    filed   04/29/14   closed   06/19/14
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          2__:_14-cv-02688-
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          2:14-cv-03939-JS-
                                          Brandau           v. Escallate             LLC      et al                                 filed   06/25/14   closed   08/12/14
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          2:14-cv-04503-
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          2:14-cv-04505-                  Telesford-Britto                v. Performant                                     Inc.
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          2:14-cv-05535-                  Serpe      v. Account            Control                                   Inc.      et
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          2:15-cv-01128-                  Collado           v. Daniels,                                        Cecere
                                                                                Norelli,         Scully,
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          2:15-cv-01209-
                                          McDonald             v.   112       Superstore,           Inc.                            filed   03/09/15   closed   05/19/15
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          2:15-cv-03218-
                                          Toscano           v. Westlake              Fiñãñcial                                      filed   06/03/15   closed   09/19/15
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                                          Urman        v.     Warren          Levi     Martial        Arts     &     Fitness        filed   09/10/15   closed    11/19/15
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        2:16-cv-00114-                                                  v. Northeastern                Asset
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        2     69-c       -02057-
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        2:16-cv-02284-                            Capobianco              v. Federal            Bond       and     Collection
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        ADS-SIL                                   Service,        Inc.      et al




        29:        -     -903552-
                                                  James        v. Lifewatch              Inc.                                               filed    06/28/16   closed   03/03/17




        2:16-cv-04300-                            Reid        v. Daniels,                                         Cecere          P.C.
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                                                  Welch         v. Chase         Auto       Finance                                         filed    08/19/16   closed    12/02/16




        2:16-cv-04816-                            Carlone         v. Damiels           Norelli         &     Scully,       P.C.     et
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       Sergei    Lemberg         is an   attorney           in     191     cases.

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          1:09-cv-00472-                  Federowicz               v. Accelerated                 Receivables
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          1 09-cv-00529-RJA               Meadows                - v-    Check         Resolution          Service            filed   06/04/09   closed    11/02/09




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          1:09-cv-00536-
                                          Cohen          v. G.C.         Services          Inc.                               filed   06/05/09   closed    12/21/09
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          1:09-cv-00550-
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          1:09-cv-00656-
                                          Hitzfeld         v. West             Asset      Management,               Inc.      filed   07/20/09   closed   04/21/10
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          1:09-cv-00658-RJA                                                                                                   filed   07/20/09   closed   09/23/09
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          1:09-cv-00993-
                                          Genewick                  v. I.C.    System,            Inc.     et al                           filed   11/17/09   closed    04/20/10
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          1:09-cv-01088-
                                          Davis         v. CCB           Credit         Services           Inc.      et al                 filed   12/23/09   closed   04/30/10
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          1:09-cv-01089-
                                          Flournoy             v. Afni,          Inc.     et al                                            filed   12/23/09   closed   02/22/10
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          1:10-cv-00059-                  Turner            v. Law        Offices         of Bradley              J. Rephen,
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          1:10-cv-00238-                  Wedgwood                   v. Cohen           &                             L.L.P.          et
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          1:10-cv-00252-RJA                                                                                                                filed   03/25/10   closed   06/08/10
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          1:10-cv-00262-
                                          Calderone                 v. Greystone               Alliance           LLC        et al         filed   03/26/10   closed   09/13/10
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          1:10-cv-00365-                  MacArthur                  v. Northstar              Location           Services,
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         1:10-cv-00415-                   Packman              v. Asset          Management
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         1:10-cv-00487-                   Monroe             v. Diversified               Adjustment                 Service,
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         1:10-cv-00582-                  Evanson              v. Northstar              Location            Services,
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          1_:12-cv-00838-RJA                                                                                                           filed   09/04/12   closed    11/30/12
                                          L.L.C.           et al




          1:12-cv-00967-JTC               Rodriguez                v. Palisades             Collections,            LLC       et al    filed   10/12/12   closed   01/04/13




         1:12-cv-01002-JTC                Bove         v. National            Recovery              Agency,          Inc.              filed   10/19/12   closed    12/10/12




         1:12-cv-01079-JTC               Haley           v. Hughes           Network             Systems,            LLC               filed   11/06/12   closed    11/04/13




         1:12-cv-01136-JTC               Kugel           v. Pinnacle             Asset       Group,        L.L.C.           et al      filed   11/19/12   closed   01/14/13




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                                               White     v. Hoffman,                Weinberg           and      O'Brien,
            1:14-cv-00606-JTC                                                                                                                  filed   07/28/14   closed    03/27/15
                                            LLC        et al




                                            Warman             et al v. The           Law       Office        of Daniel
            1:14-cv-00700-LJV                                                                                                                  filed   08/25/14   closed    03/15/17
                                            M.      Slane          et al




                                            Divincenzo                v.   Synchrony            Bank         et al                             filed   09/04/14   closed    12/15/14
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                                            Braeuner               v. General         Revenue            Corporation              et
            1:14-cv-00798-JTC                                                                                                                  filed   09/23/14   closed    10/15/14
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                                            Esquilin           v. Focus         Receivables              Management,
            1:14-cv-00811-JTC                                                                                                                  filed   09/29/14   closed    07/13/15
                                            LLC        et al




            1:14-cv-00876-JTC               Taylor           v. Premier         Credit       of N.A.          et al                            filed   10/21/14   closed    08/04/15




            1:15-cv-00096-JTC               Burke        v. Pioneer            Credit       Recovery,             Inc.       et al             filed   02/02/15   closed    11/03/15




                                            Poulson           v. Healthcare              Revenue             Recovery
            1:15-cv-00127-LJV                                                                                                                  filed   02/12/15   closed    05/11/16
                                            Group,           LLC       et al




            1:15-cv-00128-
                                            Taylor           v. Green        Tree       Servicing,           LLC         et al                 filed   02/12/15   closed    01/04/16
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                                            Heilbron           vs.     Pinnacle         Asset        Group,          L.L.C.,          et
            1:15-cv-00185-JTC                                                                                                                  filed   03/02/15   closed   04/07/16
                                            al




                                            Becker           v. Eastpoint           Recovery             Group,          Inc.    et
            1:15-cv-00191-JTC                                                                                                                  filed   03/02/15   closed   09/11/15
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            1:15-cv-00198-LJV               Trocher           v. Pioneer          Credit        Recovery,             Inc.      et al          filed   03/03/15   closed   06/14/16




            1:15-cv-00336-JTC               Poulson           v.    MRS        BPO,      LLC         et al                                     filed   04/17/15   closed   01/14/16




                                            Hartvigsen               v. Northstar          Location            Services,
            1:15-cv-00546-JTC                                                                                                              filed       06/22/15   closed    10/20/15
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                                                                                                                                       filed   06/26/15
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         1:15-cv-00741-LJV               Archer              v. Pinnacle            Asset        Group,        L.L.C.       et al      filed   08/18/15   closed   07/26/16




         1:15-cv-00742-LJV                  Fraser          v. Pinnacle            Asset      Group,          LLC        et al         filed   08/18/15   closed   07/26/16




         1:15-cv-00807-LJV                  Brown            v. Admin             Recovery         LLC         et al                   filed   09/08/15   closed   06/15/16




                                            Jackson              v. Portfolio        Recovery             Associates,
         1:15-cv-00812-JTC                                                                                                             filed   09/10/15   closed    10/19/15
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                                            Arnold           v. Northstar            Location           Services,          LLC,
         1:15-cv-00844-LJV                                                                                                             filed   09/20/15   closed   05/02/16
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         1:15-cv-00871-JTC                  Bartz       v. Admin               Recovery           LLC         et al                    filed   09/30/15   closed   03/30/16




                                            Faltisko              v. Virtuoso         Sourcing            Group,         LLC      et
         1:15-cv-00872-JTC                                                                                                             filed   09/30/15   closed   03/07/16
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         1:15-cv-00950-LJV                  Pollard              v. Pinnacle        Asset        Group,         L.L.C.       et al     filed   11/04/15




         1:15-cv-00951-LJV                  Bizuneh               v. Evans        Law       Associates,            P.C.     et al      filed   11/04/15   closed   02/28/17




                                            Taaffe          v.     Global       Credit       &    Collection
         1:15-cv-00952-LJV                                                                                                             filed   11/04/15   closed   06/21/16
                                            Corporation                et al




                                            Farias          v.    Creekside          Recovery             &    Capital
         1:16-cv-00034-LJV                                                                                                             filed   01/12/16   closed   08/02/16
                                            Management,                     LLC     et al




                                            Holt       v. Assets            Receivables            Management
         1:16-cv-00035-LJV                                                                                                             filed   01/12/16   closed   08/30/16
                                            LLC        et al




                                            Evans           v. Payment             Management                 Services
         1:16-cv-00132-LJV                                                                                                             filed   02/16/16   closed    10/20/16
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          1:16-cv-00202-LJV                                                                                                            filed   03/07/16   closed    08/22/16
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          1:16-cv-00255                      Dennis          v. Capital      One       Auto        Finance,            Inc.            filed   03/28/16   closed    03/31/16




          1:16-cv-00395-                     McCormick              v. Esser       James          &     Associates,
                                                                                                                                       filed   05/18/16   closed    07/12/17
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                                             Cushman            v. Constar         Financial             Services,            LLC
          1:16-cv-00508-LJV                                                                                                            filed   06/20/16   closed    08/31/16
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          1:16-cv-00515-LJV                                                                                                            filed   06/23/16   closed    08/25/16




                                          Midolo              v. Midland       Credit          Managemeñt,                    Inc.
          1:16-cv-00524                                                                                                                filed   06/27/16   closed   06/28/16
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          1:16-cv-00554                      Stalk      v. Volkswagen              Group          of     America,              Inc.,   filed   07/06/16   closed   07/07/16




          1:16-cv-00563                   Majewicz               v. Wells      Fargo           Auto       Fiñañce             et al    filed   07/12/16   closed   07/14/16




          1:16-cv-00635                   Griffin            v. Navient       Solutions,              Inc.                             filed   08/05/16   closed   08/08/16




          1:16-cv-00731-LJV               Ingerham              v. Evans       Law           Associates,           P.C.        et al   filed   09/12/16   closed   07/14/17




          1_:16-cv-00734                  Fackelman               v. Paypal,          Inc.      et al                                  filed   09/12/16   closed   09/13/16




          1:16-cv-00744-                  McAndrew                 v.   Secured                                    LLC          et
                                                                                       Resolutions,
                                                                                                                                       filed   09/15/16   closed    11/01/17
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          1:16-cv-00827-LJV               Bailey             et al v. Admin           Recovery               LLC       et al           filed   10/18/16   closed   01/06/17




          1:16-cv-00931-LJV               Spani         v. Elemeñt           Global           Services,          Inc    et al          filed   11/22/16   closed   01/31/17




          1:17-cv-00253-                  Westerman                v. Oracle        Financial                Group,LLC.
                                                                                                                                       filed   03/22/17   closed   07/26/17
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                                          Kirisits        v. David          J. Gold,          P.C.     et al                         filed   05/30/17   closed    11/06/17




         1:17-cv-00610-                   DeBrango                v. Northstar         Location              Services,
                                                                                                                                     filed   07/03/17   closed    11/13/17
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         1:17-cv-00742-LJV               Neal        v. ADT          LLC                                                             filed   08/02/17   closed    10/18/17




                                          Hargrave             v. Red       Cedar      Associates              et al                 filed   08/11/17   closed   04/25/18
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         1:17-cv-00854-                   Bassette          v. Oracle         Financial                                    et
                                                                                                     Group       LLC,
                                                                                                                                     filed   08/29/17   closed   01/16/18
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         1:17-cv-00938-LJV                                                                                                           filed   09/19/17   closed    10/26/17
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          1:17-cv-01052-                  Pirani       v. Capital           Management                                   L.P.
                                                                                                       Services,
                                                                                                                                     filed   10/18/17   closed   05/21/18
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                                            Supreme          v.    Szczur        Financial,           LLC       et al                filed   12/28/17




          1:18-cv-00091-                  Greer        v. Diversified             Adjustment                               Inc.
                                                                                                             Service,
                                                                                                                                     filed   01/17/18
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         1:18-cv-00709-                   Wolsonovich                 v. Northstar             Location           Services,
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                                          Jorgenson,              v. Pioneer         Credit          Recovery,           Inc    et
         1:18-cv-00915-LJV                                                                                                           filed   08/17/18
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         6:09-cv-06245-                  Mattern           v. The       Receivable              Management
                                                                                                                                     filed   05/19/09   closed    11/30/09
         JWF                                Services         Corporation




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                                            Petrakis         v. Eastern            Asset       Management,                   LLC
         6:09-cv-06292-CJS                                                                                                                 filed   06/10/09   closed    03/09/10
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         6:09-cv-06507-CJS                  Kimmel           v.   C&C         Adjustment                Bureau         et al               filed   10/05/09   closed    06/02/10




         6L09-cv-06581-                     Ioele      v. Law          Offices         of   Cohen          &      Slamowitz,
                                                                                                                                           filed   11/17/09   closed    03/30/10
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         6:10-cv-06009-
                                            McEvoy           v. I.C.         Systems,          Inc.      et al                             filed   01/08/10   closed   04/21/10
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         6110-cv-06016-
                                            McEvoy           v. Miracle             Financial,             Inc.     et al                  filed   01/11/10   closed   07/01/10
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         6:10-cv-06017-                                      v. Firstsource                                         L.L.C.           et
                                            McEvoy                                          Advantage,
                                                                                                                                           filed   01/11/10   closed   04/28/10
         DGL                                al




         6:10-cv-06018-
                                          Felton         v. Tate         &    Kirlin        Associates,             Inc.      et al        filed   01/11/10   closed   04/26/12
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         6:10-cv-06055-CJS                  Yacoub         v.     Sentry         Credit,       Inc.      et al                             filed   02/01/10   closed   04/13/10




         6:10-cv-06169-                     Wahl        v. Midland            Credit                                        Inc.     et
                                                                                             Management,
                                                                                                                                           filed   03/25/10   closed    10/28/10
         DGL-MWP                          al




         6:10-cv-06198-
                                          Krest        v. Mercañtile                Adjustment               Bureau           et al        filed   04/06/10   closed    12/16/10
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         6:10-cv-06209-                   Mehlenbacher                   v. National              Action          Financial
                                                                                                                                           filed   04/12/10   closed   09/08/10
         CJS-MWP                            Services,           Inc.    et al




         6:10-cv-06264-                   Lovett         v. Mel         S. Harris           and                               LLC
                                                                                                      Associates,
                                                                                                                                           filed   05/14/10   closed   06/25/10
         DGL                              et al




         6:10-cv-06265-CJS                McEvoy             v. Carruthers,                 Attorneys             at Law           et al   filed   05/17/10   closed   09/10/10




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         6:10-cv-06318-CJS                Karam            v. Allied           Collection            Service,         Inc.     et al     filed   06/14/10   closed   01/05/11




         6:10-cv-06405-
                                          Danles           v. I.C.      Systems,            Inc.      et al                              filed   07/15/10   closed   08/31/10
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         6:10-cv-06408-                   Brooks            v. Financial            Asset          Management
                                                                                                                                         filed   07/19/10   closed    10/14/10
         DGL                                 Systems,         Inc.      et al




         6:10-cv-06409-                                       v. Creditors             Financial                             LLC
                                             Manning                                                         Group
                                                                                                                                         filed   07/19/10   closed   08/31/10
         MAT                              et al




         6:11-cv-06008-
                                          Forster          v. Alternative              Collections               LLC         et al       filed   01/07/11   closed   06/02/11
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         6;11-cv-06224-                      Giancursio          v. Accounts                Receivable
                                                                                                                                         filed   04/28/11   closed   08/18/11
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         6:11-cv-06244-                      Conover         v. BYL            Collections                                   LLC
                                                                                                          Services,
                                                                                                                                         filed   05/09/11   closed   09/24/12
         MWP                              et al




         6_·11-cv-06245-                  Best      v. Bronson,                                and        Bergmann            LLP
                                                                               Cawley
                                                                                                                                         filed   05/09/11   closed   04/12/12
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         6:11-cv-06247-                   Parsons           v. Law        Office          of   Thomas            Landis         et
                                                                                                                                         filed   05/09/11   closed   04/20/12
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         6:11-cv-06378-                   Williams            v. Credit           Protection              Association              et
                                                                                                                                         filed   08/01/11   closed    11/10/11
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         6:11-cv-06407-
                                          Twietmeyer                 et al v. CBCS                 et al                                 filed   08/22/11   closed    11/16/11
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         6:11-cv-06409-CJS                Midiri           v. Aargon            Agency,            Inc.     et al                        filed   08/23/11   closed   02/13/12




         6:11-cv-06498-
                                          Dudley            v. Allied          Account             Services,          Inc.    et al      filed   10/11/11   closed   08/03/12
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         6:11-cv-06511-CJS                  Pronti       v. Creditors            Financial            Group         LLC          et al   filed   10/17/11   closed    12/02/11




         6:11-cv-06594-CJS                  Ciadella          v. Forster         &    Garber,          L.L.P.           et al            filed   12/05/11   closed   01/17/12




         6:12-cv-06081-CJS                  Midiri          v. Nations         Recovery           Center,           Inc.        et al    filed   02/17/12   closed   05/07/12




         6:12-cv-06529-                     Williams              v. Focused          Recovery            Solutions,
                                                                                                                                         filed   10/01/12   closed    12/12/12
         DGL                                Inc.,     et al




         6:12-cv-06575-CJS                  Thompson               v. GC       Services,          L.P.      et al                        filed   10/25/12   closed   01/11/13




         6:12-cv-06657-                     Robinson              v. Diversified             Collection            Services,
                                                                                                                                         filed   12/03/12   closed   06/19/13
         MAT-JWF                            Inc.     et al




         6:13-cv-%119-
                                            Seen       v. Rite       Aid      of New          York,       Inc.                           filed   02/28/13   closed   02/28/14




         6:13-cv-06251-FPG                  Arnold           v. EOS        CCA        et al                                              filed   05/16/13   closed    11/21/13




         6:13-cv-06619-
                                            Grambs            v. PHH         Corporation                                                 filed   11/18/13   closed   08/08/14
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         6:14-cv-06019-
                                            Thompkins               v. Time          Warner        Cable          Inc.,        et al     filed   01/10/14   closed   04/08/14
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         6:14-cv-06112-                     Joe      v. Hillcrest,                               and      Associates
                                                                             Davidson,
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         6:14-cv-06556-                     Witherow               v. Real     Time                                     Inc.     et
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         6:14-cv-06597-CJS                  Tyson           v. Discover         Card         Services,           Inc.      et al         filed   10/20/14   closed   06/22/15




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           6d5-cv-06005-
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           6:15-cv-06071-CJS                    Lewis         v. Conserve          et al                                                   filed   02/09/15   closed    06/02/15




           6:15-cv-06115-                       Hamill         v. Natioñwide                                                        Inc.
                                                                                         Recovery                 Service,
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                                                Young         v. I.C.     Systems,          Inc.,        et al                             filed   03/09/15   closed   04/28/15




           6:15-cv-06140-FPG                    Watkins          v. Coast        Professional               Inc.     et al                 filed   03/13/15   closed   05/14/15




           6:15-cv-06163-FPG                    Powell         -v-   Wegmans             Food                             Inc.             filed   03/23/15   closed   09/08/15
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                                                Dennis         v. Capital        One      Auto           Finance,          Inc.            filed   03/28/16   closed    10/11/16




           6:16-cv-06443-                   Midolo             v. Midland          Credit                                          Inc.
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                                                Stalk      v. Volkswagen               Group             of America,               Inc.    filed   07/06/16   closed   02/09/17




           6:16-cv-06490-CJS                Majewicz                 v. Wells      Fargo          Auto          Finance           et al    filed   07/12/16   closed   04/12/17




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                                            Griffin           v. Navient          Solutions,              Inc.                             filed   08/05/16   closed   09/06/17




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                                            Fackelman                 v. Paypal,         Inc.      et al                                   filed   09/12/16   closed   05/10/17




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      Sergei        Lemberg     is an    attorney           in   279     cases.



                                 Sibiriakova          v. Mercedes-Benz                      USA,         L.L.C.      et al         filed   01/04/07   closed   08/30/07
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        03571-LAP-               Bergstein          v. Maserati           North                            Inc.                    filed   04/14/08   closed   07/17/08
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        AJP




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                                 Sanchez        v. Elias         Car     Sales,       Inc                                          filed   07/01/08   closed   01/20/09




                                 Mascellino           v. City        World          Hyundai          et al                         filed   07/28/08   closed    10/23/08
           089-4         RB



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        07511-BSJ-               Begum         v. Woodside               Discount           Auto        Center                     filed   08/25/08   closed    11/12/09
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                                 Kim     v. Zwicker              &   Associates,            P.C.                                   filed   10/31/08   closed   01/20/09
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                                 Maldonado            v. Houston             Funding           II,   Ltd                           filed   02/03/09   closed   03/24/09
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                                 Brossard       v. Collectcorp                Corporatioñ                                          filed   02/19/09   closed   05/15/09
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                                 Jelic   et al v.      QAR LLC                                                                     filed   03/30/09   closed    10/06/09
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                                 Kopp       v. ER      Solutions,            Inc.                                                  filed   04/17/09   closed    11/09/09
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        1:09-cv-                 Zimmerman             v. Portfolio            Recovery              Associates,




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        04602-PGG                 LLC                                                                         filed   05/14/09   closed    12/19/13




                                  Steele     v. Profmim1              Debt       Mediation,        Inc.      filed    06/04/09   closed    06/09/10
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                                  Haynes       et al v. Planet        Automall,         Inc.    et al        filed    06/08/09   closed    08/24/09
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                                  Giannone        v. Houslanger           &    Associates,         PLLC      filed    06/15/09   closed    11/18/10
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                                 Cullen      v. Continental          Service        Group,       Inc.        filed    07/20/09   closed    11/12/09
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                                 Torres      v. Creditors         Interchange,          Inc.                 filed    07/20/09   closed    11/05/09
            427-DC




                                 Williams        v.    Simm      Associates,         Inc.                    filed    07/20/09   closed    10/02/09
            428-PAC




                                 Miller      II v. Cambridge,            Huxley        and     Associates    filed    07/20/09   closed   02/17/10
            429-RMB




                                 Miller      v. Lighthouse          Recoveries                               filed    07/20/09   closed   06/23/10
            449-SAS




                                 Raymond          v. National        Credit       Adjusters,        LLC      filed    07/20/09   closed   09/29/09
            451-PGG




                                 Miller      v. Tri-Financial,           LLC                                 filed    09/09/09   closed    11/05/09
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                                    Colon      v.    Capital       Management                       Services,            LP      et al        filed   10/26/09   closed   02/24/10
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            1:09-cv-                Douma           v. Law       Offices            of Mitchell              N.               P.C.       et
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                                                                                                                                              filed   12/03/09   closed   08/15/11
           09957-BSJ                al




                                    Waiters         v. Rubin           &    Rothman,             L.L.C.            et al                      filed   12/21/09   closed   03/24/10
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                                    Waiters         v. Pioneer             Credit       Recovery,                 Inc.     et al              filed   02/08/10   closed   07/21/10
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                                    McCauley               v. Asset        Acceptance,                L.L.C.             et al                filed   02/16/10   closed   06/28/10
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                                    Vester      v. Thompson                  &      Associates,              P.C.        et al                filed   02/23/10   closed   06/25/10
             1522-MGC




                                    Cassiano             v. Alliance          One,      Inc.        et al                                     filed   03/10/10   closed   04/29/10
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                                    Perez      v. Excel         Acquisitions,              L.L.C.             et al                           filed   03/15/10   closed   06/09/11
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                                    Waiters         v.    Collection           Technology                Inc.                                 filed   03/19/10   closed   06/06/11
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                                    Ledesma-Gilboe                    v. Midland           Funding                 LLC        et al           filed   04/05/10   closed   07/07/10
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                                    Miller     v.    Cohen        &        Slamowitz,               L.L.P.         et al                      filed   04/12/10   closed   07/28/10
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                                    Powell      v. Daniels             &     Norelli,          P.C.     et al                                 filed   04/26/10   closed   07/08/10
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                                    Jami       v. Reliant       Capital           Solutions,          LLC        et al                 filed   05/17/10   closed   03/02/11
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                                    Powell        v. Frontline          Asset         Strategies,           LLC      et al             filed   06/14/10   closed   08/17/10
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                                    Jaquez       v. Recovery            Management                    Services           et al         filed   07/20/10   closed    10/29/10




                                    Robinson         v. Palisades               Collections,            LLC       et al                filed   08/12/10   closed    11/22/10
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                                    Ruiz     v. Arrow          Fiñañcial            Services          LLC        et al                 filed   08/12/10   closed    12/16/10
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                                 Cali      v. Chrysler        Group       LLC.                                                      filed   10/05/10   closed    01/20/11
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                                 Douma         v. Enterprise          Holdings,            Inc.      et al                          filed   10/04/10   closed    04/11/11
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                                 Barclay                                      Recovery                   Services,
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                                 Lynn       v. Plaza      Associates         et al                                                  filed   10/21/10   closed   02/02/11
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                                 Fowler       v. Delta       Management              Associates,                   Inc.     et al   filed   11/05/10   closed    12/23/10
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                                 Townsend             v. United       Collection           Bureau,            Inc.        et al     filed   11/18/10   closed   02/18/11
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                                 Gill     v. Oxford        Management               Services              et al                     filed   11/18/10   closed   04/11/11
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                                  Reid       v. Asset       Mãñãgement                Professionals,               LLC                filed   05/10/11   closed    06/24/11
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                                  Adames          v. Law        Offices      of       Ross    Gelfand             et al               filed   05/19/11   closed    08/08/11
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                                  Anastasia          v. Enterprise          Recovery              Systems           Inc.              filed   06/01/11   closed    11/18/11
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                                  Fomba         v. Verizon         Commüñications,                       Inc.     et al               filed   08/22/11   closed    11/14/11
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                                 Fitzpatrick            v. PHH         Mortgage             et al                                filed   03/12/15   closed   04/29/15
          1914-KBF




                                 Dean       v. Time           Warner       Cable,           Inc.                                 filed   07/16/15   closed   04/05/16
            545-GHW



         1:15-cv-
        06445-JPO-               Mejia      v. Time            Warner       Cable        Inc.                                    filed   08/14/15
        JLC




                                 Davis      v. North           Eastern       Asset          Recovery,             Inc.   et al   filed   01/13/16   closed   03/18/16
            276       MF




                                 Handel         v. Wells         Fargo      Bank,           N.A.                                 filed   02/23/16   closed   05/12/16
          1390-         LS




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                                 Bradshaw            v. AFNI,       Inc.     et al                                  filed   02/23/16   closed    08/31/16
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                                 DiMoro         v. JPMorgan            Chase         Bank,       N.A.               filed   03/02/16   closed    08/18/16
           1601-LLS




         1:16-cv-                 Caceres      et al v. Volkswagen                                of America,
                                                                                     Group
                                                                                                                    filed   03/16/16   closed    04/06/16
        01949-LAK                Inc.




              69-9c
                                 Kugel       et al v. Macys,          Inc.                                          filed   04/07/16   closed    12/22/16




                                  Scots     v. Citibank         NA                                                  filed   05/18/16   closed   06/16/16
            710-KBF




                                 Bernstein        v.   SL   Lounge           Corp.                                  filed   05/19/16   closed    11/22/16




                                 Pickett      v. Navient         Solutions,          Inc.                           filed   06/09/16   closed    11/10/16
            310-DLC




                                 Avila      v. United       Auto      Credit         Corporation                    filed   06/16/16   closed   04/17/17
            568-GHW



         1:16-cv-                Rose       v. Richard      D.                                          At
                                                                   Sokoloff,          Attorney               Law,
                                                                                                                    filed   06/23/16   closed   07/19/16
        04889-PAE                PLLC        et al




                                 Vasquez        v. Citibank,         N.A.       et al                               filed   07/01/16   closed   01/23/17
            268-PGG




                                 Brooks       v. Midland           Funding           LLC     et al                  filed   07/06/16   closed   09/01/16
            372-LGS




                                 Class      v. Pioneer      Credit         Recovery,         Inc.       et al       filed   08/29/16   closed    11/10/16
            782-ALC




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                                  Gomez           v. Bank        of   America              Corp      et al                            filed   04/18/18   closed    07/25/18
               11-GBD




          1:18-cv-                Burdier          v. National           Grid         USA       Service        Company,
                                                                                                                                      filed   05/29/18   closed    08/28/18
         04716-ER                 Inc




                                  Sugarman               v. Arcadia          Recovery             Bureau,           LLC       et al   filed   10/09/18
              8-3-     R



         7:06-cv-
          13156-SCR-              Pocreva          v. Campers             Barn        of    Kingston          Inc.         et al      filed   11/14/06   closed   09/13/07
         GAY




                                  Newlan           v. Meyer's           RV      Center          LLC       et al                       filed   03/08/07   closed   06/18/07
                     WCC



         7:07-cv-
                                  De      Luca      v. Equipment                Sales       &     Service,          Inc.     et al    filed   10/30/07   closed   09/16/08
         09621-CS




         7:09-cv-                 Duncan           v. American             Honda           Motor                               Inc.
                                                                                                       Company,
                                                                                                                                      filed   01/09/09   closed   03/23/09
         00154-CS                 et al




         7:09-cv-
         00192-JSG-               Herzlinger             v. Nichter          et al                                                    filed   01/09/09   closed   04/05/11
         PED



         7:09-cv-
                                  Conti       v. Peter        Steven's          &     Associates,            Inc.                     filed   04/17/09   closed    11/03/10
         03910-CS




         7:09-cv-
                                  Higgs          v. Paul     Law        Offices,           PLLC                                       filed   05/21/09   closed   06/09/09
         04799-KMK




         7:09-cv-
                                  Britt     v.    G.C.      Services,          Inc.                                                   filed   06/12/09   closed   01/05/10
         05472-SCR




         7:09-cv-
                                  Paschetti         v. Bronson             &    Migliacció             LLP                            filed   07/20/09   closed   07/15/10
         06422-SCR




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                                 Nowak         v. Levitan          &     Frieland,          P.C.                             filed   07/20/09   closed   09/10/09
             425-CS




                                 Nowak         v. James          C. Bender            &     Associates                       filed   07/20/09   closed    10/28/09
             426-CS




                                 Thunberg            v. United          Recovery            Systems,          LP             filed   07/20/09   closed   06/08/10
        0    430-      CR




                                 Nowd          v. A.A.         Action          Collection           Co.,     Inc.            filed   07/20/09   closed    10/28/09
        0    450-SCR




        7:09-cv-                 Maccanthail            v. Nelson,             Watson         and     Associates,
                                                                                                                             filed   07/20/09   closed    11/12/09
        06452-CS                 LLC



        7:09-cv-
        07669-KMK-               Gallagher           v. Cavalry          Portfolio                             LLC   et al   filed   09/03/09   closed    10/20/10
                                                                                            Services,
        GAY




                                 Tew     v. I.C.       System,          Inc.                                                 filed   09/08/09   closed    12/16/09
            ÎÎlÜCR



            09-9c
                                 Nishanian           v. AllianceOne                Inc.                                      filed   09/09/09   closed   01/13/10




                                 Verge       v. I.C.     System,          Inc.,                                              filed   09/09/09   closed    12/10/09
             781-CS




                                 N½anian             v. GC       Services,           LP     et al                            filed   10/09/09   closed    12/31/09
             625-CS




                                 Saunders        v. Oliphant             Fiñancial,           LLC          et al             filed   10/09/09   closed    10/19/10
            0626-      MK



                                 Chiru      et al.     v. IC     Systems,            Inc.    et al.                          filed   10/19/09   closed   02/03/10
        79 0959-       MK



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        09013-CS                  Mannel        v. Nationwide                 Credit                                           filed   10/26/09   closed    06/30/10




                                  Brent       v. Calvery         Portfolio,            L.L.C.      et al                       filed   11/02/09   closed    05/18/10
           0937-ÅMK




                                  Jorgensen         v. First       Revenue             Assurance           et al               filed   11/16/09   closed    03/04/10
            526-CS




        7:09-cv-                  Jacob       v. Law       Offices       of Bradley             J. Rephen,          P.C.
                                                                                                                               filed   11/16/09   closed    03/17/10
        09528-CS                  et al




                                  Batista      v. Mann         Bracken,            L.L.P.       et al                          filed   11/16/09   closed    10/08/10
           0529-      MK


        7:09-cv-                  Langerud          v. Law       Offices          of                    J. Rephen,
                                                                                        Bradley
                                                                                                                               filed   11/16/09   closed   03/17/10
        09530-CS                  P.C.      et al




                                  Carlson       v. I.C.      System,           Inc.     et al                                  filed   12/28/09   closed   01/28/10
            524-CS




                                  White       v. Financial           Recovery             Services,        Inc.    et al       filed   01/08/10   closed    12/21/10
            157-




                                  Whitby        v. Advanced             Credit          Recovery,          Inc.    et al       filed   01/08/10   closed   09/02/10
            158-CS




                                  Seabrook          v. Reliant         Recoveries,              Inc.    et al                  filed   01/08/10   closed   05/26/10
            159-SCR




        7:10-cv-                  Paxson        v. Law       Offices          of Bradley           J. Rephen,         P.C.
                                                                                                                               filed   02/02/10   closed   05/12/10
        00757-KMK                et al




                                  Goldstein         v. Central         Portfolio            Control,       Inc.    et al       filed   03/05/10   closed   05/05/10
          1803-      CR



        7:10-cv-
        02471-KMK-               Kestenbaum             v. Nichter            et al                                            filed   03/18/10   closed    12/28/11
        GAY




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        7:10-cv-                 Rivera         v. Fair        Collections           &                                 Inc.    et
                                                                                          Outsourcing,
                                                                                                                                    filed   03/22/10   closed    09/13/10
        02572-CS                 al




        0   905-CS
                                      eefe     v. RuNn           & Rohan                 E                                          Med     OU0MO      closed    02/02C




        7:10-cv-                 Vitelli       v.    Stoneleigh           Recover                                    LLC       et
                                                                                           Associates,
                                                                                                                                    filed   05/17/10   closed    09/13/10
        04080-KMK                al




        7:10-cv-                 Law         Offices      of                      J. Rephen,          P.C.        et al v.
                                                                Bradley
                                                                                                                                    filed   06/25/10   closed   08/09/12
        04964-JGM                Lemberg             &   Associates,              LLC      et al




                                 Green         v. Vision          Financial          Corporation               et al                filed   07/20/10   closed    10/26/10
        0   497-CS




                                 Perrone            v. Asset      Maximization                   Group         et al                filed   09/23/10   closed   06/07/11
            334-I     MK


        7:10-cv-
        07884-KMK-               Schaps         v. Nichter            et al                                                         filed   10/14/10   closed    12/28/11
        GAY



        7
                                 Rosenzweig               v. Axis         Capital,        Inc.     et al                            filed   10/21/10   closed   08/18/11
               -5-    MK


        7:10-cv-                 Ramirez            v. Trans-Continental                    Credit         &      Collection
                                                                                                                                    filed   12/01/10   closed   06/20/11
        08985-VB                 Corp.        et al




            229-
                                 Grant        v. Forster          &    Garbus,          L.L.P.       et al                          filed   12/09/10   closed   06/15/11
                      B




                                 Apel        v. Cavalry          Portfolio           Services,        LLC          et al            filed   01/07/11   closed   04/05/11
            161-CS




                                 Obe       v. Consumer                Portfolio         Services,          Inc.      et al          filed   03/07/11   closed   07/13/11
              59-CS




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                                 Ncwmañ           et al v. Cohen              &     Slamowitz,          L.L.P.        et al     filed   05/04/11   closed   09/11/12
             168-ER




                                 Goldstein         v. Zwicker           &     Associates,            P.C.     et al             filed   05/10/11   closed   07/25/11
            137-CS




                                 Salucci       v. Nichter           et al                                                       filed   05/24/11   closed    11/14/11
                5




                                 Guerra       v. Law        OMces           omoss           Gekand           et al              med     06/06m     closed   07/28/H
            857-VB




        7:11-cv-                 Zimmerman               v. Focus       Receivables                Managment               et
                                                                                                                                filed   06/28/11   closed    11/17/11
        04376-CS                 al




        7:11-cv-                 Soto      v. Collection            Bureau          Of   The       Hudson        Valley,
                                                                                                                                filed   07/20/11   closed   09/26/11
        04999-CS                 Inc.     et al




        7:11-cv-                 D'Adamo           et al v. National                Asset      Recovery
                                                                                                                                filed   07/21/11   closed   09/30/11
        05047-CS                 Services,        Inc.    et al




                                 Giordano          v. Conserve              et al                                               filed   08/02/11   closed   08/26/11
            376-CS




                                 Reyes       v. CBCS         et al                                                              filed   08/02/11   closed   01/26/12
            386-      B




                                 Lynah        v. Med-Rev             Recoveries,            Inc.     et al                      filed   08/02/11   closed   09/06/11
            388-




        7:11-cv-                 Rivera       v. Asset       Management                                              LLC
                                                                                         Professionals,
                                                                                                                                filed   08/22/11   closed    11/08/11
        05887-CS                 et al




                                 Jones       v. AFNI,        Inc.    et al                                                      filed   09/12/11   closed    12/22/11
            373-      B




                                 Lebovits         et al v.    Sheps         &     Asseeiates,         PLLC           et al      filed   09/27/11   closed    11/18/11
            752-      MK




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               9151-
                                     Scott     v. Fair     Collections            &      Outsourcing,              Inc.      et al   filed   10/04/11   closed    02/14/12
                          R




                                    Zimmerman              v. Richard            D.      Symansky,           P.C.         et al      filed   11/21/11   closed    02/23/12




                                    Balile      v. Dewey            et al                                                            filed   12/13/11   closed    09/12/12
               090            Y



           7:12-cv-                 Bullocks          v. Retrieval           Masters         Creditors            Bureau,
                                                                                                                                     filed   01/13/12   closed    06/19/12
           00323-ER                 Inc.     et al




           7:12-cv-                 Johnson          v. Portfolio                                                        L.L.C.
                                                                            Recovery           Associates,
                                                                                                                                     filed   01/19/12   closed   02/28/12
           00477-KMK                et al




                                    Winslow           v. Meridian            Financial          Service,          Inc.      et al    filed   01/24/12   closed    02/27/12
                2-5-CS




                2
                                    Grant      v. Diversified               Collection          Services,          Inc.      et al   filed   03/30/12   closed    12/14/12
                     5-   R




                                    Donnelly          v. Conserve             et al                                                  filed   08/07/12   closed    10/10/12
               031-VB




                                    Taylor       v. Conserve            et al                                                        filed   08/07/12   closed    10/19/12
               032-       R



           7    2 ev
                                      ones     v. PHH        Mortgage             Corp.                                              filed   08/09/12   closed   02/11/14




                                    Moskowitz            v. Meta        Fiñancial           Group,         Inc.                      filed   10/09/12   closed   01/02/13
               540-CS




                                    Acosta-Jaramillo                v. Civic          Center      Motors           Ltd.              filed   01/07/13   closed   03/14/13
           0   138-       B



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           00332-KMK                Franklin       v. Adler         Wallach             &   Asseeiates,             Inc.     et al    filed   01/15/13   closed    03/21/13




           7:13-cv-
           00385-NSR-               Pruger       v. Greenlight                              Inc.                                      filed   01/16/13   closed    09/12/13
                                                                           Energy




                                    Tew       v. JPMorgan           Chase           &    Co.                                          filed   03/26/13   closed    04/02/14
               032-VB




           7:13-cv-                 Swithenbank            v. North           Eastern          Asset       Recovery,
                                                                                                                                      filed   04/01/13   closed    07/19/13
           02141-VB                 Inc.




                                    Pearl      v. North      American               Power           and    Gas     LLC                filed   04/01/13   closed   09/04/13
                343-CS




                                    Keshinover            v. Main          Street       Acquisition              Corp.;       et al   filed   04/29/13   closed   07/24/13
               806-NSR




                3 c
                                    Jackson       v. AFNI,          Inc.     et al                                                    filed   07/23/13   closed    11/19/13




                                    Franklin       v. Midland              Credit       Management,                  Inc.     et al   filed   07/25/13   closed    12/02/13
               226-      B



           7:13-cv-                 Santiago       v. Portfolio                                                           L.L.C.
                                                                            Recovery               Associates,
                                                                                                                                      filed   07/29/13   closed   09/25/13
           05295-KMK                et al




                                    Zweibel       v. Rubin          &      Rothman             LLC                                    filed   08/13/13   closed   04/01/14
               670-NSR




           7:13-cv-                 Leen       v. Emergency             Medicine                            &
                                                                                             Billing              Coding
                                                                                                                                      filed   08/20/13   closed   03/13/14
           05830-VB                 Company




                                    Zwiebel       v. Asset        Acceptance,                  LLC                                    filed   08/28/13   closed   04/02/14
                3-3-




           7:13-cv-                 Shwedo        v. First     National             Collection                              Inc.
                                                                                                           Bureau,
                                                                                                                                      filed   10/24/13   closed    11/20/13
           07524-VB                 et al




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                                 Douzanis           v. Cellco       Partnership             et al                             filed   01/09/14   closed   02/26/15
            149-VB




                                 Clark      v. Associated            Credit        Services,          Inc.                    filed   01/09/14   closed   06/19/14
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        7:14-cv-                 Hayes       v. Retrieval          Masters         Creditors                           Inc.
                                                                                                        Bureau,
                                                                                                                              filed   01/09/14   closed   09/25/14
        00151-KMK                et al




        7:14-cv-                 Walker       v. Retrieval           Masters            Creditors           Bureau,
                                                                                                                              filed   01/09/14   closed   09/23/14
        00152-VB                 Inc.     et al




        7:14-cv-                 Zimmerman              v. Midland             Credit                                  Inc.
                                                                                            Management,
                                                                                                                              filed   01/17/14   closed   08/01/14
        00359-NSR                et al




                                 Lebron       v. Diversified            Consultants,                Inc.,     et al.          filed   01/22/14   closed   09/17/14




        7:14-cv-                 Baloga       v. Retrieval          - Masters            Creditors           Bureau,
                                                                                                                              filed   01/22/14   closed   05/14/14
        00407-V_B                Inc.     et al




                                 Morganher                v. Gunmann               et a                                       Ged     0U23M      closed   0U0W
            425-NSR




                                 Warner           v. Cavalry       Portfolio            Services,           LLC    et al      filed   03/27/14   closed   05/12/14
            2427-VB




        7:14-cv-
        02675-NSR-               Nilges      v. Cellco                                  et al                                 filed   04/15/14   closed   03/04/15
                                                                Partnership
        PED




                                 Schatten          v. Carson       Smithfield,             LLC        et al                   filed   04/29/14   closed   07/18/14
            046-       S




                                 Zani     v. First      Premier       Bank         et al                                      filed   04/29/14   closed   08/21/14
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                                  Davis      v. Cellco         Partnership             et al                                          filed   04/29/14   closed    07/24/15
        0   053-CS




                                 Bay      v. ADT         LLC       et al                                                              filed   07/15/14   closed    03/13/15
            321-CS




                                 Masi       v. CIR,      LLP,       Law        Offices          et al                                 filed   09/23/14   closed    11/18/14
            712-NSR




                                 Nixon       v. Cavalry           Portfolio            Services,         LLC          et al           filed   11/12/14   closed    01/06/15




                                 Antunez          v. Macy's         Inc.      et al                                                   filed   11/18/14   closed    03/24/15
            177-CS




                                 Zani      v. Target          Corporation              et al                                          filed   11/25/14   closed   06/30/15
                    -VB




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                                 Pecoraro         v. MBI         Associates,             Inc.      et al                              filed   12/09/14   closed   06/22/15




                                 Oelofse         v. Assedecoven                    Associates                 et al                   Ged     OU2   M5   closed   02/25A5
            457-NSR




                                 McElveen           v.   Cavalry           Portfolio           Services,         LLC          et al   filed   02/03/15   closed   04/21/15
            780-NSR




                                 Lee      v. Immediate            Credit        Recovery,              Inc.     et al                 filed   03/16/15   closed   05/06/15
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            743-          E      Reid-Phillips           v.     Scarsdale         Ford,         Inc.                                  filed   04/09/15   closed    10/13/15




                                 Gauthier         v. Cavalry         Portfolio            Services,            LLC                    filed   10/04/15   closed   08/16/16
            840-VB




                                 Egerton         v. Natioñal         Credit        Adjusters,              LLC        et al           filed   01/13/16   closed   09/22/16
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        7;16-cv-                 Gibbons          v. North          Eastern       Asset                             Inc.    et
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                                 Grier       v. Contiñêñtal            Finance            Company,           LLC                    filed      01/17/17
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                                 Kadan         v. Hunter        Warfield,           Inc.      et al                                 filed      02/07/17   closed   03/27/17




        7:18-cv-                 Walbridge              v. Retrieval          Masters         Creditors           Bureau,
        01078-NSR-               Inc.     d/b/a     American           Medical            Collectioñ                           et   filed      02/07/18   closed   08/31/18
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        7:18-cv-                 Kolomiichuk               v. Town        Sports           International
                                                                                                                                    filed      02/12/18
        01223-KMK                Holdings,          Inc.     et al




                                 Nahmañi           v. Ford       Motor         Company             et al                            filed      02/14/18   closed   06/28/18
            3   9-CS




                                 Perrone          v. Online         Infounatioñ             Services,        Inc.      et al        filed      04/16/18   closed   07/17/18
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        09/20/2013 Participation         Companyet al                             Court                        Documents
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        155879/2012 Waitingfor           KimberlyWalker- v. - RyanAutomotive, NewYorkCountySupremeCourt file
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                    Disposed             Manhattan
        157074/2016 FullParticipation MichaelL. Pettinella- v. - FCAUS,LLC,        NewYorkCountySupremeCouQjle
        08/23/2016 Recorded           f/k/a ChryslerGroupLLCet al                  OtherMatters- ontractNon  Documents
                    Disposed                                                .    . Commercial
        500209/2018 FullParticipation ThomasCosta- v. - MaseratiNorth             KingsCountySupremeCourt       fi]g
        01/05/2018 Recorded           America,Inc.                                OtherMatters- Contract- Other Documents
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        501140/2018 Partial          ShaneIan DawsonThomas- v. - Kings½           KingsCountySupremeCourt       fjj
        01/18/2018 Participation'    AutoshowII Inc. d/b/a B ooklyn               OtherMatters- Contract- OtheF Documents..
                    Recorded         Mitsubishi
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        50753/2016 FullParticipation CAVALRY SPVI, LLC- v. - ROWANF               WestchesterCountySupreme     file
        01/22/2016 Recorded          LAVISCOUNT                                   Court                         Documents I
                   Pre-RJI                                                        OtherMatters- ConsumerCredit
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        507546/2013 FullParticipation    DaniloBrioso- v. - Mercedes-Benz
                                                                        USA, KingsCountySupremeCourt           fj]g
        12/02/2013 Recorded .            LLCet al                            Contract(Non-Commsd?!)            Duunnenb
                    Pre-RJI
        514694/2017 FullPa+!dpat!en      MariaF. Lupo- v. - FCAUS,LLC,f/k/a       KingsCountySupremeCourt      file
        07/31/2017 Recorded              ChryslerGroupLLC                         OtherMatters- ContractNon-   Documents
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        515742/2016 FullP :cli-cuc^.     StevenLacalamita- v. - FCAUS,LLC,        KingsCountySupremeCourt . file
        09/08/2016 Recorded              f/k/a ChryslerGroupLLC         .         OtherMatters- ContractNon- . Documents
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        51701/2012 Approvedfor EF                            - v. -
                                         WandaFranceschi-Appold                   WestchesterCountySupreme     fjje
        02/06/2012 Pre-RJI               P!eas2nM!!eFordInc.                      Court                        Documents
                                                                                  Contract(Non-Commercial)
        601849/2013 Approvedfor EF       MuratZan - v. - DancyAuto Group,LLC      NassauCountySupremeCourt     fi]g
        .07/17/2013 Disposed                                                      ConsumerCreditTrc=±!e        Documents.
        603035/2016 FullParticipation SusanAlexanderet al - v. - Subaruof         SuffolkCountySupremeCourt    file
        02/24/2016 Recorded           America,Inc.                                OtherMatters- ContractNon-   Documents
                    Disposed                                                      Commercial
        603863/2014 FullParticipation    MuratZan- v. - DancyAuto Group,LLC       NassauCountySupremeCourt     file
        07/29/2014 Recorded                                                       Contract(Non-Commercial)     Documents
                    Disposed
        604551/2016 FullParticipation ChristopherA. Tobin- v. - FordMotor         NassauCountySupremeCourt     fj]g
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                    Disposed                                                      Commercial
                                                     et al - v. - Huntington
        606405/2016 Full Participation SofiaKapassakis                            NassauCountySupremeCourt     Edg
        08/22/2016 Recorded            Honda,Inc.                                 OtherMatters- ContractNon-   Documents
                    Disposed                                                      Commercial
        606457/2016 FullP=+icipatea      KeeYeeShum- v. - FCAUSLLCet al           NassauCountySupremeCourt     Ede
        08/24/2016 Recorded                                                       OtherMatters- ContractNon-   Documents
                    Pre-RJI                                                       Commercial
        607225/2016 FullParticipation    RichardV Beck- v. - FCAUSLLCet al        NassauCountySupremeCourt     EUg
        09/19/2016 Recorded                                                       OtherMatters- ContractNonW   Documents
                    Pre-RJI                                                       Commercial
        608344/2016 Partial              JahvisP.Williams- v. - WestburyJeep      NassauCountySupremeCourt     fjja
        10/28/2016 Participation         ChryslerDodgeInc.                        OtherMatters- ContractNon-   Documents
                    Recorded                                                      Commercial
                    Pre-RJI
        613304/2016 FullParticipation JohnCampbellJr, - v. - FordMotor            SuffolkCountySupremeCourt fij
        08/24/2016 Recorded           Companyet at                                OtherMatters- ContractNon- . Documents ..
                    Disposed                                                      Commercial
        613311/2016 FullParticipation    CharlesE. Preteet al - v. - FordMotor    SuffolkCountySupremeCourt    fi]g
        08/23/2016 Recorded              Companyet al                             OtherMatters- ContractNon-   Documents
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        613352/2016 rull Participation   KatiaDieudonne- v. - NissanNorth        5 SuffolkCountySupremeCourt . fi]g
        08/24/2016 Recorded              America,Inc. et al      .                 OtherMatters- ContractNon-  Documents
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        650350/2012 Approvedfor ÈF      RobertLerch- v. - ARKRestoration&   NewYorkCountySupremeCourt file
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        708111/2016 Partial             NatalyaV Gasova- v. - HondaMotor    QueensCountySupremeCourt     file
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         71091/2015 FullParticipation          BANK- v. - MICHAEL
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        905155-16         FullParticipation    RichardHoltonet al - v. - Forest      AlbanyCountySupremeCourt file
        09/06/2016.       Recorded             River,Inc et al                  .    Other.Matters- ContractNon- Documents
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        E159788/2016 FullP2±!c!pation          DaquinBlondy- v. - FordMotor          NiagaraCountySupreme       file
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        EF006156-2.016pullParticipation        WillisGdones - v FordMotor            OrangeCountySupreme        fjje
        09/08/2016    Recorded                 Companyet al     .                    Court                      Documents
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        EF007054-2016 FullParticipation        PatrickO'Leary- v. - FordMotor        OrangeCountySupreme        file
        10/17/2016    Recorded                 Company                               Court                      Documents
                      Pre-RJI                                                        OtherMatters- ContractNon-
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        EF00705772016 artial Participation     ChristopherV Felico- t - General      OrangeCountySupreme         flje
        10/17/2016   Recorded                  MotorsL.IICet al                      Court                       Docornents
                     Disposed                                                        OtherMatters- ContractNorf-
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        EFCA2016-         FullP2±!c!pat!cn     KevinM.Allardet at - v. - Ford        OneidaCountySupremeCourt file
        001658            Recorded             MotorCompany                          OtherMatters- ContractNon- Documents
        08/24/2016        Pre-RJI                                                    Commercial




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           03/19/2018 Recorded         . . BURTON                                   Court .                      Documents
                       Pre-RJI                                                      OtherMatters Contract- Other
           066795/2012 Approvedfor EF      JenniferBurton- v. - ClarkstownTownof    RocklandCountySupreme        file
           07/25/2012 Pre-RJI                                                       Court                        Documents
                                                                                    SmallClaimsAssessment
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           153575/2017 FullParticipatiion    JOHNDAVIDBURTON   -A - 198WEST         NewVorkCountySupreme         fl]ge
           04/18/2017 Recorded               10THSTREETLIC et al                    Court                        Doci.iments
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           160223/2016 FullParticipation     JacquelineBurtonet al - v. - Federal   NewYorkCountySupreme         Elig
           12/06/2016 Recorded               SignalCorporation                      Court                        Documents
                       Pre-RJI                                                      Torts - ProductLiability
           ?014EF2265 PartialParticipation CapitalOneBank(USA),N.A.- v. - Jack OnondagaCountySupreme C fije
           06/16/2014 Recorded             Burton     . .                      Court                     Documents
                      Pre-RJI                                           .   . ConsumerCreditTransaction.
           2014EF772       PartialParticipation STATEOFNEWYORK- v. - JEFFREY
                                                                           J.       OnondagaCountySupreme        fj]g
           03/11/2014      Recorded             BURTON                              Court                        Documents
                           Pre-RJI                                                  Contract(Non-Commercial)
           2015-52170 PartialParticipation CreditAcceptanceCorporation- v. -        DutchessCountySupreme       fj
           12/21/2015 Recorded             JacquelineB. Burton                      Court                       Documents
                      Pre-R3I                                                                   -
                                                                                    OtherMatters Consumer
                                                                                    Credit(Non-Card)Transaction
           21743/2018E FullDed!c!pat!cn      JamalBurton- v. - PascualE.Mendoza BronxCountySupremeCourt          fjja
           02/13/2018 Recorded               et al                              Torts - MotorVehicle             Documents
                       Pre-RJI
           ;23071/2.012EApprovedfor ÈF       WALDRON      ñ. - JOHN.
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            12/07/2012 Pre7RJI               BURTON
                                                  et al .                           Tort                         Documents
           453298/2017 PartialParticipation The           or of Laborof the State   NewYork CountySupreme        fjja
           12/20/2017 Recorded              of NewYork- v. - JessicaA Burton        Court.                       Documents
                       Pre-RJI                                                      Torts - Other
            50438/2012 Approvedfor EF        JohnBurton- v. - CarneTron             WestchesterCountySupreme     fjja
            01/12/2012 Disposed                                                     Court                        Documents
                                                                                    Contract(Non-Commercial)
           513649/2018 Partial-= . _,:- _'   AMANDAMARIEDAVISet al - v. -           KingsCountySupremeCourt      fj]g
           07/03/2018 Recorded               VICTORIAMOJICAet al                    Torts - MotorVehicle         Documents
                       Pre-RJI
           513852/2017 PartialParticipation JAMESBURTON  - v. - OMARIA              KingsCountySupremeCourt      fjje
           07/18/2017 Recorded              THOMPSON et al                          Torts - MotorVehicle         Documents
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           51963/2017 Full ^:±:::;:t!:·-    BONNIEGLASSER   - v. - MARYBURTON       WestchesterCountySupreme     fjje
           O2/13/2017 Recorded              et al                                   Court                        Documents
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           53945/2015 PartialParticipation CorenZelphaBurton- v. - JeffreyJ         WestchesterCountySupreme . fjjg
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           54733/2011 Waitingfor Consent CHAPPAQUA    ROADCO.,LL.C. - v. -          WestchesterCountySupreme     fjje
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           54900/2011 PartialOptout          BARBARA          - v. - JOHN WestchesterCountySupreme
                                                   ELLENBRAMSON                                                  fj]g
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                                                  et al             .    . .. Court                              Documents
                      Disposed                                                Commercial
           55067/2017 PartialParticipation WestchesterCommunityCollege- v. -        WestchesterCountySupreme     file
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           56774/2013 Waitingfor Consent WESTPORTYOGA,LLCet al - v. - JOHN WestchesterCountySupreme              fjje
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           59582/2012 Waitingfor consent MEENAN                                     WestchesterCountySupreme     fl]g
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           603544/2017 FullParticipation     Jeffrey.K.Burton- v. - WilliamJ. Szmala SuffolkCountySupremeCourt   fj]g
           02/24/2017 Recorded                              .    .                   Torts - MotorVehicle        Domm©
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           603773/2006 Waitingfor Consent SHAWNWILLIAMSet al vs STEVEN                                           fjje
           02/01/2007 Disposed            SCHNEIDER
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         605746/2017 PartialPad!c!pet!œ Progressive
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         06/16/2017 Recorded            Companyet al - v. - Jalil Burtonet al   Torts - MotorVehicle          Documents
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         008509/2018     PartialParticipation SUNNYSIDE
                                                      CARECENTER,
                                                                LLCd/b/a          OnondagaCounty                  f|1e
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                                                      CARECENTER            PUFKI SupremeCourt                    Documents
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         008608/2018 PartialFa:‡|c|iG‡|GnSunnysideCareCenterLLCd/b/a SunnysideCare OnondagaCounty                 file
         09/10/2018WP Recorded           Center-v. - MaryCharbonneau
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         2014EF1190      FullF:              SunnysideCareCenter,LLC- v. - Ines Rovito       OnondagaCounty       file
         04/04/2014      Recorded                                                            SupremeCourt         Documents
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         2016EF2285      FullParticipation   SunnysideCareCenter,LLC- v. - NancyA.           OnondagaCounty       fije
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         2016EF2389      FullParticipation   RobinL Dumas- v. - MichaelVenditteet at         OnondagaCounty       file
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          2017EF2967 , PartialParticipation SunnysideCareCenter,LLC- v. - LawrenceL          OnondagaCounty       file
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          E2018004134 FullPõit|cpat:GG       KarenFreeman- v. - RochesterGeneralHospital MonroeCounty             file
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          EF2016-0210 PartialParticipation OakHillAcquisitionCompany,LLC- v. -. MaryL.       TompkinsCounty       flig
          12/09/2016. Recorded             Pellicciottiet al                                 SupremeCourt         Documents
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          EFCA2016-      FullParticipation   BethanyOperatingCo., LLC- v. - Joanna           OneidaCounty         file
          001553         Recorded            Danielloet al                                   SupremeCourt         Documents
          08/09/2016     Active                                                              Commercial- Contract
          EFCA2018-      PartialParticipation BethanyOperatingCo, LLCd/b/a Bethany . . OneidaCounty               fija
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               Business                 Details




         https://www.bbb.org/us/ny/buffalo/profile/collections-agencies/eastpoint-recovery-group-...                                                                    10/12/2018
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             Licensing        Information


             This    business        is an industry        that     may     require   professional        licensing,     bonding     or registration.       BBB
             encourages           you    to check      with       the   appropriate     agency       to   be   certain   any   requirements        are

             currently      being       met.




            For     Consumers

            File    a Complaint
            BBB     Scam      Tracker

            File    an Auto       Warranty     Complaint
            BBB     Ad    Truth




       https://www.bbb.org/us/ny/buffalo/profile/collections-agencies/eastpoint-recovery-group-...                                                       10/12/2018
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          •••        MENU
                                                                                LEMBERG                 b LAW                                                                           TAP       TO
                                                                                 TOPRATED *.*                18KCLtE
                                                                                                                   NTS




                                                                SEND          SECURE             MESSAGE               TO LEGAL              TEAM




                   Eastpoint                     Recovery                     Group              ERG          Collections                          Complaints.                           Stop
                   the       calls



                   Many           consumers                  bring        up     complaints                  about          harassing                    collection             calls


                    February              15,    2018




            Eastpoint          Recovery           Group        Inc or ERG is a debt                 collection            agency,        which

            receives        a lot       of consumer            complaints            to our       law firm       for       debt

            harassment.                 Find    out    who     they     are,     why      they     might      be calling,           and      how

            you      can    stop        them.



            Quick        links:



                     Who       is?                                                  yiage        Garnishment?                                       Stop        Them

                     Scam?                                                          Lawsuits                                                           Delete         Credit     Report

                      Complaints                                                    Calling?



                                                                                                                                                   -        ERG?
            What                   is      Eastpoint                             Recovery                              Group

             Eastpoint            Recovery            Group      Inc     or    ERG       is a third-party              collection          agency            located           in Buffalo,          NY.

             ERG      has     received           censumer              complaints           alleging         violations             of the        Fair     Debt        Collection          Practices

            Act     (FDUA)              includirig        improper             sharing       of information                  and     threatenirig               to     take     actions          that

            carinot         legally       be taken.           If yéu     have       beeri        contacted           by     ERG,understand                      your       rights       before

             responding.




       https://www.lemberglaw.com/eastpoint-recovery-group-erg-collections-complaints-calls/                                                                                                       10/16/2018
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                                                                                    LEMBERG                       k     I.AW                                                                            TAP             TO
          •••        MENU
                                                                                     TOPRATED                          18KCLIENT5




            Have         questions?                We help          consumers.                Our       services              are                                  FREE to you.               Click        844-685-
                                                                                                                                      absolutely

            9200         S NOW              for     a Free        Case        Evaluation.             Or     go       ahead           and        fill    out       our    Contact             Form.




            Is       Eastpoint                                  Recovery                                Group                         a scam?


            According             to the           Better        Business           Bureau            (BBB),          Eastpoint                 Recovery             Group,           Inc.     is a legitimate

            collection            agency             founded            and       incorporated                 in 2011.              The        BBB        established                ERG's          profile           page     in

            2012.         ERG      is listed          as a collection               agency.




            According             to      its website,            Eastpoint            Recovery              Group            is "a professional                         receivables                 and

            collections             management                    firm...that              offers       consumers                   the      ability           to work         with      our         team          of
                                          professionals."
            experienced                                                  ERG's       objective              is to      offer"consumers                             resolutions               that      allow           them

            to     pay     off    their      debts          amicably,           helping             them       to     alleviate             the         stress       of outstanding                    debt            and
                                                                                                                                                                 direction."
            enabling             them        to     once        again     get      their       credit        moving             in a positive




            The       Eastpoint             Recovery             Group         website              does     not       provide             detailed                information               about          its

            business             practices            or clientele,             stating        only        that       their         "policies            and        procedures                demand
                                                                              behavior."
            professional                  and       considerate                                      In addition,               ERG         offers          a Resources                 page          and         an    Issue

             Resolution             page.          The      Resources              page       provides              a link      to        the      federally             mandated               Annual             Credit

             Report          website,             which       allows       site     visitors          to    request            their         credit            reports         at no         cost.     The         Issue

                Resolution          page           includes         a web-based                 contact             form       that         site        visitors         can     use     to     lodge

            complaints              or      make          account         inquiries.            The        bottom             of the            Issue       Resolution             page             provides             a

            legal        disclaimer               identifying           Eastpoint            Recovery               Group            as a debt              collector.




       https://www.lemberglaw.com/eastpoint-recovery-group-erg-collections-complaints-calls/                                                                                                                            10/16/2018
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                                                                                                   LEMBERG                      ‰ LAW                                                                                     TAP           TO
                                                                                                   TOPRATED                        18KCLIENTS                                                                             CALL


            As of       December                        2017,          the       Better           Business              Bureau           (BBB)           has      closed             7 complaints                   against

            Eastpoint                      Recovery                Group               in the        preceding             3 years,             with       2 complaints                          closed        in the           past       12

            months.Almost                              all of the               complaints                allege         problems               with       billing             and        collections.              As of October

            2018,        the          Consumer                     Financial                Protection             Bureau              (CFPB)            has      received                64 complaints                    about

            Eastpoint                  Recovery.                Justia           lists      at least         4 cases            of civil        litigation              involving                ERG.



            Contact                     Information



                       Eastpoint                       Recovery                 Group,             Inc.

                       26        Mississippi                  St.,     Ste.       200

                       Buffalo,               NY 14203

                     Telephone:                         (800)        459-2417

                       Website:                   http://www.eastpointrecoverygroup.com/



            Can         you                help           me              ile         a No         Fee        Lawsuit                    against                       Eastpoint                        Recovery
                                  Inc
                                                  -     ERG.
            Group



            Absolutely.                       Here           are       some            Sample              Complaints                   filed        against                 Eastpoint



            Complaints                       against            Eastpoint                  Recovery           Group             cite     allegations                   of     rude         and      abusive              telephone

            conduct               by       its collections                      staff.       In October                 2017,      a complainant                            indicated              she      had      been

            contacted                  by an            ERG        representative                         regarding             a delinquent                     debt          resulting             from          her     purchase

            of a laptop                    computer.                 The         complainant                     indicated             that       she      had          lost        her     job,        so she           could          not

            continue                  making             payments                     on    the      computer.                 Allegedly,            a representative                             from        Eastpoint

            Recovery                  Group             began             calling           the    complainant                   and       her       family             to     discuss            the      past      due         bill

            everyday                  "and            threatened                 that        she     was      going            start     having            the         complainant's                       wages...             garnished
                                                                                                                                                                                                          work."
            and      saying                that        she      was        going            to    have       someone               come            to the          complainant's                                         The

            complainant                       indicated                that           she    asked          someone               to     contact           the          representative,                      and         that      during
                                                                                                                                                                                                     relationship."
            the     call     the           representative                         was        "very        rude       saying            all of this             stuff         about          her                                         The

            complainant                       indicated                that           she     intended             to    pay      the      bill     when               she     was         back         to work,           but          in the

            meantime,                      she         was      "not         sure          why     the      representative                      is harassing                    her       and       her      family...           and          that
                                                                                                                                                                                                             now."
            she     needs               to     stop,         as this            is something                  that       the      complainant                     cannot              pay         right                    The

            complainant                       alleged              that         the      ERG       representative                      "is an       incompetent,                          inconsiderate                   person              who

            needs           to        be     let go          from         the         company,              as she         is acting              like    the          money              that      is owed           is being                paid
                                       her."
            directly             to                    The      complainant                       indicated             that      she      is "ready              to         seek     legal         help       if she        does             not
                                                                                  family."
            stop       harassing                      me and              my                         In response,                 Eastpoint                Recovery                  Group           apologized,




      https://www.lemberglaw.com/eastpoint-recovery-group-erg-collections-complaints-calls/                                                                                                                                             10/16/2018
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                                                                                               LEMBERG                                  LAW                                                                           TAP         TO
          •           MENU                                                                                          --***..*
                                                                                               TOPRATED                             18KCLIENTS                                                                        CALL


              In February                   2017,        a complainant                        indicated              that          he     had        been            contacted             by     Eastpoint            Recovery

              Group            regarding                a delincluent                  debt.          Allegedly,               Eastpoint                had          been         "harassing           him       and
                                                                                       house."
              threatening                   to    put      liens       on     his                            In addition,                 the     complainant                        alleged       that         ERG     had       been
                                                                                                                                                                                                                       well,"
              "finding          the         names             and      phone           numbers                 of family                 members                 and      contacting     them                    as
                                                                                                                                                                                 members."
              although            the        delinquent                 debt        had            "nothing              to    do       with      outside              family                                   The

              complainant                    indicated               that      ERG "should                     NOT            be    contacting...                     people           who      have       no     association...
                                                                                                                    information,"
              with       my account                     and     discussing                  personal                                                   and       that        he      had     "contacted               an
              attorney."
                                      In response,                    Eastpoint               Recovery                   Group           indicated               they    had           received           the     complaint
                                                                                                                                                                claims."
              and"removed                        it from            production                while          they         investigate                  the




              Can               Eastpoint                                      Recovery                                        Group                            Sue               Me            or         Garnish

              MyWages?

              It is illegal           for        a debt        collector            to       threaten               to    sue       you         or garnish                 your        wages.        It is also            unlikely

              ERG would                 sue        you        for     a debt        you            may        not        owe        or they            cannot              validate.         However,             debt

              collection           agencies                   are     known            to     have        summoned                        debtors               to    court         and      garnish         wages            after     a

              default          judgement.                     Contacting               an          attorney              BEFORE            this        could           possibly            happen          would            be a

              smart        move.             We've            helped          thousands                   of consumers                         fight         back          against         unscrupulous                    debt

              collection           harassers.                   Find        out     if we           can       help        you       too        today!



              Click      844-685-9200                         EB      NOW         to        call      us or         go        ahead            and       fill        out      our      Contact            Form.         Our

              services            are        absolutely                     FREE       to     you



              Eastpoint                      Recovery                       Group                   ERG         Calling                    You?



              Understand                     your         debt          collection                   rights




              The       Fair     Debt            Collections                Practices               Act   (FDCPA)                  and     the         Fair      Credit           Reporting            Act      (FCRA)          are

              enforced            by the            Federal             Trade          Commission                        (FTC)          and      the         Consumer                  Financial          Protection

              Bureau            (CFPB).            The        FDCPA           regulates                the      behavior                 of collection                     agencies          by    prohibiting                actions

              such       as the             use     of abusive                or threatening                        language;                  harassment;                    or the         use     of false         or

              misleading                information                    to    collect           a debt.




       https://www.lemberglaw.com/eastpoint-recovery-group-erg-collections-complaiñts-calls/                                                                                                                                      10/16/2018
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                     """
                                                                                           LEMBERG                       ‰ LAW                                                                           TAP        TO

          T                                                                                TOPRATED                           18KCLIENTS                                                                 CALL

            illustrates             how       these         laws        can         be     extremely                effective           tools         to     hold          accountable           collection

            agencies              who      fail     to    adhere             to their             provisions.




            These          laws       also        provide          individuals                    with      a means             to     seek          monetary                damages           in court.          For

            example,              the     FDCPA            allows            consumers                    who       have        been          violated              to     recover        damages            of    up    to

            $1,000,           plus      attorney            fees        and          court         costs.



            Seek          legal      assistance             to find           the        relief      you        may       be      entitled            to     if you         are     having      difficulty

            resolving             disputes           with         a debt            collection              agency.




            Consumers                   have         reported                 this        agency              harassing                them           from           the     following           ñümbars:



                     8004592417                                                               7163620462                                                                   7162561708



            Want             to      Stop          Debt            Collection                            Harassment                           Now?


            Your          debt       harassment                    checklist:



            • You          are                            multiple            calls        per      week          from         third                       collection              agencies
                                    receiving                                                                                                party
            • You          are                                                               or late          night       calls        from          debt         collectors
                                    receiving             early      morning
            • You          are                            calls     at work              from            a debt       collection
                                    recieving                                                                                                 agency
            •      Debt      collectors             are                       your                                                      or     coworkers
                                                            calling                        friends,           neighbors,
            •    Collectors             are                                   you        with                                                 or arrest
                                                  threatening                                        violence,            lawsuit,
            • A debt              collector          attempts                to     collect          more         than         you      owe

            • You          are                    threatened                 with         negative              credit
                                   being                                                                                      reporting
            • A debt              collector          attempts                to     intimidate                you

            •    Criminal            accusations                  are                     made            towards             you
                                                                         being
            •    Use       of obscene                language                                 an     attempt             to    collect
                                                                             during
            • Automated                    robocalls              are                      made           to your             phone          in an         attempt            to     collect
                                                                             being



            If you've             been        harassed                  by     debt          collectors               and        even          one          of     these          has    happened             to    you,

            we      can       help.       We will            fight           for     your           rights.




            We can            make            them          STOP!




      https://www.lemberglaw.com/eastpoint-recovery-group-erg-collections-complaints-calls/                                                                                                                             10/16/2018
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                      MENU
                                                                                                   LEMBERG                    ‰ LAW                                                                              TAP       TO
                                                                                                   TOPRATED           **.*          18KCLIENTS                                                                   CALL

            What                Our             Clients                are           Saying



            "We       realize               that     ours         is just           one       small          case                                    - and                        more       serious           - but        are
                                                                                                                      among             many                          many

             heartened                     by the         fact        that      you         accepted               it and       represented                 us with             a professionalism                   that
                                                                       amount."
             belied           the         small      dollar



            "If you           are          unsure          about             this      company...DONT                           BE!!!     They       are      for       real     when        they       say      they       are

             here        to     help         you.         It only        takes             a few       short         minutes            of your           time         to talk     to      a rep.       I was      a skeptic,
                                                                                                                                                                        enough!"
             but      you           did     everything                 you          said      you      would!          I can't          say     thank         you




            "Lemberg                      Law      has        saved           me from                the     endless          calls,      and        harassing               voicemails.            They         really          do   go

            to     bat        for     you.         I didn't           know           that      debt         collection            agencies            can        end      up      paying         your      legal        bill.

            What          a surprise,                 to       receive              free      legal        help.      I'm    very        grateful          for        all the     hard       work         they     did          to
                                                                      back."
            finally           give         me my life



            "I won't            be afraid                to     contact              you      or      recommend                  your          services          to     others       for     debt       collection

             difficulties.                  Please         keep          up      the        outstanding                work         you        do,   and         again,         thank       you     for       helping            me
                                                                                                                   grateful."
            through                 this      challenging                    time.          I am      most



             CanYou                         Help           Me          Delete                 Eastpoint                      Recovery                     Group                ERG         from           My       Credit

            Report?



            We can              absolutely                    help.      Call         us today.



            Sound                    Off!




             Have        you          had          a bad         experience                   with         this    agency's             debt      collectors?              Sound           off    and      share          your

            experience                      with     other            visitors             in the      comment                  box      below.




                                                                                                                            Tags:                                                   Collection                 Agencies




            Comments:



                                           March          12, 2018             at      1:13     pm,         T. K. said:




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                                                                                            LEMBERG                            LAW                                                                      TAP      TO
          •    •      MENU
                                                                                            TOPRATED *****                    18KCUENTS                                                                 CALL

                                  offensive                 language.                 They        have        also      called        family          members               that       have        nothing      to    do

                                  with         the       account.                I asked          them          to    make       payments               on      the        account           and      I was    told    that

                                  I could            not,        that         it had        to    be     paid        in full     up    front.         I cannot             pay     over       $1000.00          at once.

                                  Then          they           told        me I had              to    make          in only      2 payments                   and        if I did     not     make          a payment

                                  they         were            garnish              my wages.             They         call    at least         2 times             a day        and       at least      5 - 6 times

                                  a week.             Very            rude          and     unprofessional.                    I want          the     calls        to    stop       and     the     harassment

                                  to     stop.




                                  July     12, 2018                 at       1:31     pm,        D. G. said:


                                  They         do        not        need         to     contact          my employer.                   Im      seriously                so embarrassed!!




              Leave          a   Reply
                                                     -         or        -      your             legal          concerns



              Please        include       your            contact              information                so we          can     contact             you.

              Your     contact          info      will         NOT be published.




                   What's        your      comment                       or     legal       concern?




                                                                             published)*
                     Your     name        (will          not        be




                                                                             published)*
                     Your     email       (will       not           be




                     Your                                                     published)*
                              phone         (will         not         be




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           •••1      MENU
                                                                       LEMBERG
                                                                                .
                                                                                              ‰ LAW                                                               TAP    TO
                                                                       TOPRATED ***.**                 18KCUENTS




                                                        SEND        SECURE             MESSAGE              TO LEGAL            TEAM




                                                         Consumer                                      attorneys.

                                                                 At         your                       service.




                                                        Call                             ½


                                                                      LEMBERG                                     LAW


                                              Lemberg         Law     is committed                 to     empowering                 consumers.

                            The    firm's       main    office      is located           at 43          Danbury         Road,        Wilton,      Connecticut.




                                                                                 v                 f          BBB
                                                                                                                  t


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                  Sergei   Lemberg,     Esq., is the Connecticut            attorney      responsible          for this     advertisement.         See the iurisdictions       in
                                      which     our lawyers      are licensed,         admitted,         or otherwise       authorized         to practice.

                  Do not assume        that   you are entitled        to any compensation                  as a result      of the consumer          complaints     you have.
                  Compensation        for potential     legal violations,       and any results             obtained,       depéñds        upon    the specific    factual    and
                                                                      legal circumstances                 of each case.




                                                                                © Lemberg               Law LLC




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                           Eastpoint Recovery Group


                           All      Maps   News     Shopping     Images     More                  Settings   Tools

                           About492,000results(O58 seconds)

                           Eastpoint Recovery Group ERG Cohusm                  Camp|aints. Stop the calls
                           https://www.lembergiaw.com  >... >Info& complaints>EastpointRecoveryGroup v
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                           *****      Rating:1 - Reviewby BBBComplaint
                           Feb15,2018- EastpointRecoveryGroup Incor ERGis a debtcollectionagency,which
                           receivesa lotof consumercomplaintsto ourlawfirmfordebt...


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                           https://www.bbb.org/us/ny/buffalo/                                 moou9
                           I havereceivedmultiple,harassingandcrgumentatNe  phonecallsfromLaurieS***of               Address: 1738ElmwoodAveSuite10 Buffalc
                           EastpointRecoveryGroup.I havebeenworkingwithLaurieto paydow···                            14207
                                                                                                                     Hours:Open- Closes6PM-
                                                                                                                     Phone:(800)459-2417
                           Videos
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                                                                                                                     Knowthis place?Answerquickquestions


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                           Eastpoint Recovery             Stop Eastpoint                 Fairway Capital
                           Group Calling?                 Recovery Group                 Recovery Calling?
                           Debt Abuse +                   Debt Harassment                | Debt Abuse +
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                           Lawyer                                                        Lawyer
                           SergeiLemberg                  MichaelAgruss                  SergeiLemberg
                           YouTube- Nov21.2014            YouTube- Feb15,2015            YouTube- Feb22,2015



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                           Eastpoint Recovery Group, Inc. | Comp!s!nts | Better Business Bureau ..·                  11Googlereviews
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                           https://www.bbb.c-g/±. "-f:::.'p:T:!:.'.../eastpoint-recovery-group.../complaints
                           Viewcustomercomplaintsof EastpointRecoveryGroup,inc.,BBBhelpsresolvedisputes
                           withtheservicesor productsa businessprovides.                                             People also search for                                 view -


                           Are You Being Harassed by Eastpoint Recovery Group, Inc.? - Florida ...                                                           (é-nee
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                           www endedcb™gMors.com/fdcpa-rights/.../harassed-eastpoint-recovery-group-inc/                                  BigEbts
                           EastpointRecoveryGroup is a debtcollectionagencylocatedin Buffalo,NewYork.                ABC-Ame... CenterOne The                                     Col
                           EastpointRecoveryis knowntotheConsumerFinancialProtectionBureau,...                       Inc               LLC                 Northstar              Bus
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                           https://www.facebook.com >Places>Buffalo,NewYork>FinancialServicev
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                           EastpointRecoveryGroup,Inc,Buffalo,NewYork.238likes· 6 werehere.Welcometo
                           EastpointRecoveryGroup Inc.a professionalreceivables
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                           Eastpoint Recovery Group, Inc - CFPB Complaint - Get Out of Debt Guy
                                                 >scam Reporter>CFPBComplaintv
                           https://getoutofdebt.org
                           Dec11.2017- Priorto placingthecall,I searchedfor information
                                                                                      aboutEastpointGroup
                           becausebothcallssoundedsuspicious.IfoundthatEastpointwasa ...


                           WARNING: Eastpoint Reovery Group - Dabtorboards
                           www.debtorboards.com >The Players>CollectorsandAgenciesv
                           Nov16.2011- Thenumbertheyleavein messagesis:716-989-0973. Phonenumberfrom
                           website:800-459-2417.
                                               Theiraddress:EastpointRecoveryGroup.--.
                           EastpointRecovery- Shouldwesue?      Apr 4, 2015
                           EastpointRecovery Group              May23.2013
                           Moreresultsfromwww.debtorboards.com




       https://www.google.com/search?source=hp&ei=uUbHW-200-TB_Qax7pb4Dg&q=Eastp...                                                                       10/17/2018
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                           Eastpoint Recovery Center | Rise Again at East Point!
                           www.eastpointrecoverycenter-com/*
                           EastPoint RecoveryCentercan helpyouheal....a customized
                                                                                 treatmentutilizinga
                           combinationoftherapiesfromGroup andFamilyTherapy,DualDiagnosis,..


                           Stop Eastpe!nt Recovery Group | Comp!eints, Lawsuits & Scam
                              www.agrussconsumerlaw.com/   '
                           KnowYourRights.FreeConfidentialConsultation.
                                                                     Callor ChatLiveOnlineToday
                           NoFeeGuarantee· FreeCaseEvaluation- ContactUs


                           Searches related to Eastpoint          Recovery Group

                           east point recoverycenter                 east point recoverygeorgia
                           eastpointlegal group                      east point recoveryatlanta
                           east point recoverycenter atlanta ga      wny recoverygroupinc
                           east point recoveryga                     buffalo ny debt collectors


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                           8 Perry,Buffalo,NY - FromyourInternetaddress- Usepreciselocation- Leammore

                           Help    Sendfeedback      Privacý      Terms




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   REDA                                                                                                                                                            TED
    From:      Sergei        Lemberg           [mailto:slembe                se-      c      uc     s aw.com]
    Sent:      Thursday,         October          11, 2018           1:01      PM
    To: Wells,         Steven        W. <SWells@hodgsonruss.com>
    Cc: Jody      Burton         <jburton@lemberglaw.com>
    Subject:       RE: Eastpoint               Webpage



                 Steven,         pertaining          to the      page         below:


                                  - you're        right.    There       are 7, not                17 complaints                with      BBB. That's               a typo.
                                  - you're        right     on the      CFPB complaints                         as well.       There         are     64 now,          not     12 we       listed        on the      page        previously.



                  Finally,       I dec|iñe        your      request          for    the      rernava|           of the     page.        See attached                 decision.


                 Thank        you.



                 https://www.lemberglaw.com/eastooint-recoverv-grouo-erg-collections-comolaints-calls/




                 Wells,       Steven         W.   [mailto:]
                 Sent:       Thursday,            October        11, 2018                 12:43         PM
                 To:      Jody Burton
                 Subject:            Eastpoint            Webpage


                 Jody,


                  I am     reñêwing            my derñand             that         your      firm       take    down        that       portion         of its online            profile       that      specifically           pertains        to
                  Eastpoint.           There       are a number                of inaccurate                   statements             contained              in the      webpage             including        the      number             of
                 complaints            filed      against      Eastpoint              with        the     BBB and          with       the    CFPB.           In addition,         by referêñcing                  unsubstantiated
                 allegations           contained            in complaints                  on the        webpage,              you     are causing             consumers              to believe           that     those
                 allegations           are actually           true     and         that      Eastpoint           engaged              in the     conduct            alleged       in the       complaints.              To the         best    of

                 my khuvv|edge,                none of those allegations                                have     ever      been        ruled       upon       by any         court.       Furthermore,                 using     the       "least
                                             consumer"
                 sophisticated                           standard,    most                          consumers              do not           even      know         the    difference            between           allegations
                 contained            in comp!aints            and      conduct              that       was     picveñ          to have        been          taken       by Eastpoint.                 Accordingly,            the

                 webpage             is false     and      misleading              and       results         in defamation               and       libel.     Your       unlawful         conduct           has caused               an

                 unusually           high       number        of claims             by consumers                 that      your       firm     represents.               I have       been       representing               Eastpoint,
                 with      the    exception           of 1-2 years,                since      its incepticñ             and       have       never          seen     anything         like     this.




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         My      client      has advised          me that,    if you     refuse      to take   down     the    website,       I am to cununcooe      a lawsuit    against

         Lemburg            Law     in which      you   would     also    be named         as a defendant.           Please    indicate   by the   close   of business      today
         whether           you     will   agree    to take    down       the   website     pertaining         to Eastpoint.


         Eastpoint           hereby       reserves      all of its rights      and    remedies.


         Steve




          Steven           W. Wells
          Partner
          Hodgson           Russ    LLP

          Tel:              716.848.1233
          Mobile:           716.983.4750
          Fax:              716.849.0349




          HodgsonRuss.-
                           . ATTOffNEYS

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          The Guaranty    Building   [ 140 Pearl Street,                  Suite   100 | Buffalo,      NY 14202
          Tel: 716.856.4000     | mag




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                                                            Sergel L.
                                                            Business Owner
                                                                                                                                                                                            lemberglaw.com
                                                    Lemberg Law is a consumer law firm that represents people who have been victims of debt collection
                                                    harassiiissit and cell phone robocalls, or who find they've purchased defective (lemon) cars. We also                                   (2031653-2250
                                                    represent people in overtime pay and personal injury cases. Read More
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                                                    Yelp users haven't asked any questions          yet about Lemberg        Law.

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                                                                   Newbury Park, CA
                                                           h       H o friends                     I am an attomey In Califomia Who has been falsely
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                                                                                                   new business. He actually maligns my client and then
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